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                                 EXHIBIT 17
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 Office of
 Inspector General
 Chicago Board of Education
 Nicholas Schuler, Inspector General




                                        January 1, 2020

 To the citizens of Chicago and Illinois, the Chicago Board of Education, the Mayor of
 Chicago, the Illinois General Assembly and other elected officials:
 The following Annual Report of the Office of Inspector General for the Chicago Board
 of Education includes a summary of investigations and other matters reported to the
 Board of Education by the Office of Inspector General in Fiscal Year 2019 (July 1,
 2018, to June 30, 2019), and is filed pursuant to 105 ILCS 5/34-13.1(e).
 The cases reported by the OIG in Fiscal Year 2019 include:

     o An investigation of a high school swim coach who misappropriated $30,000
       from the school by renting out the school pool and pocketing the rental
       payments he collected;
     o An investigation of a nursing-services vendor whose franchise president used
       her vacation home to influence the CPS procurement process while her
       company was being considered for a $30 million contract;

     o A performance review that determined that CPS failed to collect up to $2
       million in pre-kindergarten payments due to a variety of factors, including
       mismanagement, lax debt collection, poor oversight of the district’s tuition
       collection arrangement with a vendor and pre-K application fraud;1
     o An investigation of an elementary school where several staff members
       received a free pre-K perk that was not available to the public and that the
       employees were not entitled to receive; and
     o Numerous investigations of CPS employees who underreported their income
       to obtain free pre-K for their children.
 Also in Fiscal Year 2019, the OIG formed a new unit — the Sexual Allegations Unit —
 focused on investigating cases in which CPS students were the victims of sexual
 abuse by CPS employees or other CPS-affiliated adults. The OIG SAU opened nearly


 1The OIG publicly reported on this matter via a Significant Activity Report released on March 13,
 2019.


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 500 investigations in 2019. The SAU investigations that were completed and
 reported to the Board in 2019 are discussed in this Annual Report.
 Other matters detailed in this report include:
     o Violations involving student information and data, such as the improper
       removal of students from the rolls and the improper disclosure of
       confidential student information;
     o Falsification of work hours, abuse of paid leaves of absence and abuse of
       benefit days;
     o Contract “stringing” schemes in which two sets of married couples used their
       companies to split contracting work at CPS schools to evade CPS’s
       competitive procurement processes; and
     o Updates to prior OIG investigations, including several recent convictions for
       former CPS employees and vendors who participated in a major purchasing
       and reimbursement scam through which they stole nearly $900,000 from the
       district.
 As always, it is a privilege to serve the students and families of CPS. Know that this
 office remains dedicated to independent investigation and analysis to further its
 mission of rooting out waste and corruption within our school district. Please feel
 free to contact us with any concerns.


                                     Sincerely,
                                     Nicholas Schuler
                                     Inspector General
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 Chicago Board of Education
 Nicholas Schuler, Inspector General




             F Y 2 0 1 9 A N N UA L R E P O R T
 S ECTION 1 — O FFICE O VERVIEW
         M ISSION   AND   B UDGET
 The mission of the Office of Inspector General is to ensure integrity in the operations
 of Chicago Public Schools by conducting meaningful, accurate and thorough
 investigations into allegations of waste, fraud, financial mismanagement and
 employee misconduct. The OIG also reviews CPS systems, practices and procedures
 to determine their effectiveness in preventing waste, fraud and financial
 mismanagement.
 In Fiscal Year 2019, the OIG’s budget grew to approximately $3.64 million as its
 employee positions grew from 19 to 49,2 due to the creation of the OIG’s Sexual
 Allegations Unit, which was tasked with investigating adult-on-student sex abuse
 cases at CPS.
         T RAINING   AND I NVESTIGATION   S TANDARDS
 Many employees of the OIG are members of the Association of Inspectors General, a
 national organization of state, local and federal inspectors general and their staffs.
 The AIG offers training seminars and certification institutes for members as well as
 networking opportunities.
 Many OIG employees hold the designation of Certified Inspector General or Certified
 Inspector General Investigator.
 Participation in the AIG also offers employees continuing training in best practices
 related to the performance of the Inspector General mission. Locally, the OIG
 collaborates with IG offices from other state and local agencies to train all staff in a

 2These 49 employee positions reflect the number of positions that were approved in Fiscal Year
 2019. The OIG had not actually hired that many employees that year. The number of OIG
 employees was in flux throughout the year, as the Sexual Allegations Unit continued to grow, and
 the extent of that growth will be better reflected in the 2020 budget.
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 variety of areas related to investigations and audits. The Sexual Allegations Unit also
 receives training on child interviews and Title IX procedures.
 The OIG conducts its investigations in accordance with the AIG’s Principles and
 Standards for Offices of Inspector General, generally accepted principles, quality
 standards and best practices applicable to federal, state and local offices of
 inspectors general. In addition, the OIG, at all times, exercises due professional care
 and independent, impartial judgment in conducting its investigations and issuing its
 reports and recommendations.
         C OMPLAINTS R ECEIVED   IN   2019
 In Fiscal Year 2019, the OIG received 2,175 complaints alleging misconduct, waste,
 fraud and financial mismanagement at Chicago Public Schools, including allegations
 of misconduct by CPS employees and vendors and allegations of students residing
 outside the City of Chicago and attending CPS.
 Of the 2,175 total complaints received, the OIG opened investigations into a total of
 817 cases (37.6%). Several factors restrict the number of cases the OIG can open and
 investigate, including (1) a continuing focus on significant and often complex issues;
 (2) a particularly small staff size in relation to the OIG’s total oversight responsibility
 (in Fiscal Year 2019 CPS had approximately 38,000 employees and a budget of $5.98
 billion); and (3) time consumed by post-investigation activities (e.g., preparation
 and testimony for hearings, trials and labor arbitrations).
 As previously reported by this office, the inability to investigate more complaints
 creates a substantial risk that instances of fraud and employee misconduct go
 undetected.
 The OIG received 334 anonymous complaints, 15.4 percent of the total complaints
 received during the reporting year. Although the OIG responds to anonymous
 complaints, it is far more challenging to begin an investigation without the ability to
 speak with the complainant.
 The table below reflects the types of complaints received by the OIG in Fiscal Year
 2019.
                               [Table begins on next page.]




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                               Type of Complaint Received FY 2019
        Sexual Allegations (Total)3                                     458     21.06%

                 Grooming                                                 64      2.94%

                 Sexual Abuse                                             46      2.11%

                 Touching: Less than Sexual Abuse                         45      2.07%

                 Sexual Act                                               37      1.70%

                 Sexual Comments – in Person                              32      1.47%

                 Student-on-Staff Inappropriate Conduct                   11      0.51%

                 Old Allegations                                           8      0.37%

                 Sexual Electronic Communication                           7      0.32%

                 Concerning: Other                                      208       9.56%

        Mismanagement                                                   199      9.15%

        Residency                                                       140      6.44%

        Discourteous Treatment                                          105      4.83%

        Bullying/Inadequate Response to Bullying                        101      4.64%

        Corporal Punishment                                              78      3.59%

        Violation of Board Policy                                        76      3.49%

        Negligently Supervising Students                                 72      3.31%

        Tuition Fraud                                                    65      2.99%

        Ethics                                                           61      2.80%

        Discrimination                                                   56      2.57%

        Retaliation                                                      52      2.39%



 3These complaints were handled by the OIG’s Sexual Allegations Unit and do not include matters
 that were referred to other investigative bodies at intake, such as student-on-student sexual
 misconduct complaints that were referred to CPS’s Office of Student Protections.


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                               Type of Complaint Received FY 2019
        Conduct Unbecoming                                          49   2.25%

        Inattention to Duty                                         45   2.07%

        Falsification of School Records                             42   1.93%

        Failure to follow IEP/504 Policies/Procedures               42   1.93%

        Criminal Background                                         41   1.89%

        Falsification of Employment Records                         34   1.56%

        Falsifying Attendance Records                               34   1.56%

        Misappropriation of Funds                                   27   1.24%

        Off-Duty Criminal Conduct                                   24   1.10%

        Test Cheating                                               20   0.92%

        Using Verbally Abusive/Aggressive Language                  20   0.92%

        Violation of the Student Code of Conduct                    19   0.87%

        Preferential Treatment                                      17   0.78%

        Residing Outside the School Boundary                        16   0.74%

        School Safety/Security                                      16   0.74%

        Reporting to Work Under the Influence                       15   0.69%

        Unfit for Duty                                              15   0.69%

        Wrongful Termination                                        15   0.69%

        Contractor Violations                                       14   0.64%

        Fraudulent Leave of Absence                                 13   0.60%

        On-Duty Criminal Conduct                                    12   0.55%

        LSC Member Misconduct                                       12   0.55%

        Improper Licensure                                          9    0.41%

        Grade Changing                                              8    0.37%


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                                Type of Complaint Received FY 2019
         Theft of Board Property                                        7      0.32%

         Violation of Magnet and Selective-Enrollment Policy            6      0.28%

         Violation of Acceptable Use Policy                             3      0.14%

         LSC Election Fraud                                             3      0.14%

         Unauthorized Use of Board Property                             1      0.05%

         Other                                                        133      6.11%

                                                                     2,175   100.00%




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  S ECTION 2 — P RE -K C ASES : F RAUD , I MPROPER P ERKS AND M ISMANAGEMENT
  In Fiscal Year 2019, the OIG reported on numerous matters involving CPS’s pre-
  kindergarten programs. The first case was an investigation of an elementary school
  where staff members improperly received pre-K benefits that were not available to
  the public. That investigation prompted the OIG’s Performance Analysis Unit to
  examine the manner in which pre-K was managed in the district and to conduct a
  performance review of pre-K billing and collections. That review was the subject of
  an OIG Significant Activity Report released on March 13, 2019, and included in this
  report as the Appendix. Following that review, the OIG investigated specific instances
  in which CPS employees underreported their income on pre-K applications for their
  children.
          S TAFF E NJOYED F REE P RE -K P ERK N OT A VAILABLE   TO   P UBLIC (16-01403)

  An investigation determined that a principal of an elementary school afforded staff
  members a child-care perk at the school that was not available to the general public
  and was not sanctioned by the district. Like many CPS schools, this school offered
  the public a need-based half-day pre-K program that was overseen by CPS’s Office of
  Early Childhood Education. However, six staff members at the school who enrolled
  their children in the half-day session were allowed to keep their children at the
  school for the entire day. Whereas other parents were only able to enroll their
  children in either the morning or afternoon session, staff members were given
  access to both sessions for their children. That is, the children of staff members were
  only officially enrolled in one of the sessions. Therefore, they were allowed to stay in
  the other session without applying through OECE and, because they were not on the
  books for the second session, it was completely free.
  Because the staff members evaded the OECE enrollment process, the children’s
  attendance at the additional pre-K sessions was not tracked by OECE or at the
  school. As a result, the OIG was not able to confirm the precise number of additional
  pre-K sessions attended by each child. However, based on the evidence uncovered in
  the investigation, the OIG determined that, at a minimum, four staff members had a
  total of five children regularly attending both pre-K sessions during the 2016–17
  and 2017–18 school years, one staff member had a child intermittently attend both
  pre-K sessions during the 2016–17 and 2017–18 school years and one staff member
  had a child attend both sessions during the 2014–15 school year. Accordingly, they
  likely received the following benefits:




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       Staff Member        Number of    Approx. Duration      Frequency        Approx. Value of
                            Children     of Add’l Pre-K                        Add’l Free Pre-K 4

      Staff Member A            1       1.5 School Years      Consistent            $6,000

      Staff Member B            2       1.5 School Years      Consistent           $12,000

      Staff Member C            1       1 School Year         Consistent            $4,000

      Staff Member D            1       1.5 School Years      Consistent            $6,000

      Staff Member E            1       1.5 School Years      Intermittent          $3,000

      Staff Member F            1       1.5 School Years      Consistent            $6,000


  The OIG found that the principal gave the staff members either express or implied
  permission to use both pre-K sessions for their children. Moreover, the principal
  instructed pre-K teachers, a pre-K teacher’s assistant and a school clerk to watch the
  staff members’ children during the daily one-hour period between the two pre-K
  sessions. As such, she abused her authority and misused CPS resources by granting
  these benefits to staff members that were not available to the general public. The
  OIG did not find evidence that the principal personally benefitted from this
  improper practice. She appeared to be motivated primarily by a desire to
  accommodate her staff. However, she unquestionably understood that by allowing
  staff members to place their children in additional pre-K sessions, she was flouting
  CPS pre-K enrollment procedures and causing staff members to receive benefits to
  which they were not entitled.
  The OIG also found that the six staff members who received these perks knew or
  should have known that they were accepting benefits to which they were not
  entitled. Although the evidence showed that the principal permitted this practice,
  the staff members should have known that accepting additional free pre-K was
  improper because, among other reasons, (1) they knew that their children were
  enrolled in only one half-day pre-K session, (2) they intentionally circumvented the
  normal OECE pre-K enrollment process by going directly to the principal or other
  staff members to gain access to additional pre-K, and (3) they knew this perk was
  not offered to the general public.

  The OIG recommended strong discipline for the principal, up to and including the
  termination of her employment. In the wake of the OIG’s investigation, the principal



  4The approximate value of the additional pre-K received by each staff member was calculated
  based on the average cost of half-day daycare in the area around the school.


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  retired from CPS, and the Board is determining whether to place a Do Not Hire
  (DNH) designation in her personnel file.
  As for the staff members who improperly received the additional free pre-K, the OIG
  recommended appropriate discipline, up to and including termination, for five of
  them. The sixth staff member also violated the CPS residency policy, as discussed in
  more detail in Section 7 below. Therefore, the OIG recommended that the Board
  immediately terminate his employment and place a DNH designation in his
  personnel file.
  The Board has advised that it is still assessing this matter to determine the proper
  disciplinary action for all six of these staff members.
          P RE -K B ILLING M ARRED   BY   M ISMANAGEMENT (18-00133)
  An OIG performance review determined that CPS left as much as $2 million in parent
  pre-K payments on the table over four school years, including money it was shorted
  by nearly 140 of its own employees.
  The programs at issue were CPS’s tuition-based pre-K, which currently charges
  $14,617 for a full-day seat, and a sliding-scale program which last operated in the
  2017–18 school year and charged anywhere from $260 to $4,400 for a half-day seat,
  depending on family income.

  The review by the OIG’s Performance Analysis Unit attributed CPS’s failure to collect
  up to $2 million in pre-K payments to a variety of factors, including pre-K
  application fraud by CPS employees with children in pre-K programs, lax debt
  collection, mismanagement, poor oversight of CPS’s tuition-collection arrangement
  with a for-profit company and human or data errors.
  On March 13, 2019, the OIG issued a Significant Activity Report detailing the findings
  and recommendations from this performance review. The OIG’s full Significant
  Activity Report is included below as the Appendix.
  Since reporting on this matter publicly, the Board has made progress in collecting its
  pre-K debts and also taken measures to address other problems identified in the
  OIG’s report.
  Some pre-K debts are lost forever due to one-time errors or other issues. However,
  the Board is attempting to recover what it can. According to the Board, as of
  December 2019, roughly $86,000 in pre-K debts had been collected and more than
  $730,000 is still owed, the vast majority of it by more than 600 non-CPS employee
  families. Debts of at least $25 are being sent to an outside firm for collection,



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  including the outstanding debts of a Chicago Police Department commander and a
  Chicago police officer.
  The CPS Law Department directly sought repayment from 39 current or former CPS
  employees or their spouses with pre-K debts of at least $500, which amounted to,
  collectively, more than $90,000 in debt. Of them, 35 have resolved their debts. Four
  former employees with roughly $10,000 total in debt, as well as others with smaller
  debts, were referred to the outside firm for debt collection. Of those with at least
  $500 in debt, no current employees were disciplined as all had either paid their
  debts or voluntarily signed a payroll deduction form.
  The OIG had also recommended that CPS consider finding a new vendor to collect
  pre-K tuition because the current vendor had not abided by its contract. The Board,
  however, decided not to find a new vendor. The Board advised that the vendor’s
  services have been significantly reduced since the end of the sliding-scale pre-K
  program. The vendor will only be used to collect tuition for those few schools that
  offer tuition-based pre-K.
  If CPS decided to stick with the same vendor, the OIG recommended that the
  contract be renegotiated and that the vendor use consistent fees across all schools,
  because, without CPS’s permission, the vendor had charged a variety of late fees —
  ranging from $20 to $90 per monthly bill with outstanding debt — as well as
  processing fees ranging from $46 to $50 per student, depending on the school. The
  Board has since advised that a standard $40 late fee and $50 processing fee will be
  added to new agreements between the Board and the vendor going forward.
  As recommended, certain payment records have been consolidated in one place and
  principals have been notified of what pre-K records they should be keeping in their
  files. According to the Board, the vendor is being asked to provide a monthly report
  on all student tuition and fees that CPS will be monitoring for delinquencies.
  Notably, during the 2018–19 school year, four new debtors, none of them CPS
  employees, were identified as still owing nearly $7,700 total in outstanding pre-K
  tuition. Their debts are being sent to an outside firm for debt collection, as well.
  As recommended, CPS has ended its more than $70,000-a-year lease for a 3,200-
  square-foot office space that was being used by one employee who has been
  relocated. This employee’s responsibilities will no longer be split between two
  duties, one of them pre-K bill collection. Instead, a different, single person will be in
  charge of monitoring pre-K billing, the OIG has been told.
  As discussed in the OIG’s report, currently, CPS employees can face discipline for not
  paying a city parking ticket but face no disciplinary consequences for not paying


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  their pre-K debts. As recommended, CPS is contemplating changes to address this
  issue.
  The OIG also had made several recommendations on how to improve the pre-K
  application form which remain relevant because the system’s move to free pre-K for
  four-year-olds will once again require income information that will be used by CPS
  to award free pre-K seats to the neediest families first. Following the OIG report, CPS
  changed its form to include an attestation-of-truthfulness box, as recommended.
  However, the form could still be improved by making more clear which parent
  checked the box and submitted the form — a problem presented in some of the
  investigations discussed below — and by warning parents that providing false or
  misleading information could result in criminal penalties under the state public
  benefits fraud law, 720 ILCS 5/17-6(a).

          I NVESTIGATIONS       OF   CPS E MPLOYEES W HO F ALSIFIED P RE -K A PPLICATIONS
  Following the performance review, the OIG conducted investigations of specific
  instances in which CPS employees underreported their income on Pre-K
  applications for their children. The OIG focused its investigations on 15 cases in
  which the income reported by CPS employees was understated by a large amount.
  After fully investigating those 15 cases, the OIG found that CPS employees did, in
  fact, owe outstanding tuition, either because they misrepresented their income on
  their applications or because their income was otherwise underreported (18-01001;
  18-01006; 18-01008; 18-01233; 18-01234; 18-01237; 18-01238; 18-01241; 18-
  01242; 18-01243; 18-01247; 18-01249; 18-01250; 18-01288; 18-01442).
          1. Amounts Owed and Other Details from the 15 Cases
  The 15 investigations involved 16 CPS employees: four assistant principals, 11
  teachers, and one student services advocate who was in a relationship with a
  teacher. Each employee had a child enrolled in a CPS pre-K program that charged
  tuition according to a sliding scale based on parental income. In each case, the
  employee’s child’s application did not list the employee’s full CPS salary.
  In five of these investigations, the CPS employees admitted to completing their
  applications and omitting their CPS income. In one of these cases, the CPS employee
  specifically admitted to understating her family income in order to ensure that her
  child secured a seat in the program and was not excluded due to her high income. In
  another case, the CPS employee acknowledged being told by an OECE employee that
  her child was unlikely to gain admission to the pre-K program of her choice due to
  her high family income. The CPS employee then claimed to have “zero income” on
  her child’s application. The employee defended her decision to the OIG by stating


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  that since she was a 39-week employee and not receiving a paycheck at the time of
  the application, she was truthful in stating she had “zero income.”
  For these six employees, the table below shows their position, the amount they
  owed, the OIG’s recommendation and the Board’s response.

         Position         Amount Owed    Recommendation                 Board’s Response

                                                                 A letter has been sent to the
                                        Repayment and            employee demanding payment of
    Bilingual Teacher       $1,516.40
                                        appropriate discipline   these funds, and this matter is still
                                                                 pending.

                                                                 A letter has been sent to the
                                        Repayment and            employee demanding payment of
    Regular Teacher         $1,463.60
                                        appropriate discipline   these funds, and this matter is still
                                                                 pending.

                                                                 A letter has been sent to the
                                        Repayment and            employee demanding payment of
    Assistant Principal     $8,000.00
                                        appropriate discipline   these funds, and this matter is still
                                                                 pending.

                                                                 A letter has been sent to the
                                        Repayment and            employee demanding payment of
    Bilingual Teacher       $3,398.20
                                        appropriate discipline   these funds, and this matter is still
                                                                 pending.

                                                                 A letter has been sent to the
                                        Repayment and            employee demanding payment of
    Bilingual Teacher       $2,741.90
                                        appropriate discipline   these funds, and this matter is still
                                                                 pending.

                                                                 A letter has been sent to the
                                        Repayment and            employee demanding payment of
    Special Ed. Teacher     $3,780.80
                                        appropriate discipline   these funds, and this matter is still
                                                                 pending.


  In seven of the OIG’s investigations, the CPS employees claimed that their spouse
  completed the application and was solely responsible for the omission. Four of those
  employees claimed to have been separated from their spouse at the time the
  application was submitted. In one case, the CPS employee denied understating her
  income on her child’s application, and the documentary evidence indicated that an
  OECE employee may have been responsible for the understatement. In each of these
  cases, the OIG was unable to conclude that the CPS employees knew or should have
  known that their income was improperly omitted from the pre-K applications in
  question.


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  For these seven cases, the table below shows the positions of the employees, the
  amounts they owed, the OIG’s recommendations and the Board’s response.

         Position         Amount Owed       Recommendation           Board’s Response

                                                              A letter has been sent to the
                                            Repayment only    employee demanding payment of
    Special Ed. Teacher     $4,410.00
                                            (no discipline)   these funds, and this matter is still
                                                              pending.

    Program Option
                                                              A letter has been sent to the
    Teacher (Mother);
                             $6,415.50      Repayment only    employee demanding payment of
    and Student Special
                           (collectively)   (no discipline)   these funds, and this matter is still
    Services Advocate
                                                              pending.
    (Father)

                                                              A letter has been sent to the
                                            Repayment only    employee demanding payment of
    Regular Teacher         $4,000.00
                                            (no discipline)   these funds, and this matter is still
                                                              pending.

                                                              This employee left CPS after the
                                                              OIG reported on this matter. A
                                            Repayment only    letter has been sent to the now-
    Regular Teacher         $8,554.00
                                            (no discipline)   former employee demanding
                                                              payment of these funds, and this
                                                              matter is still pending.

                                                              A letter has been sent to the
                                            Repayment only    employee demanding payment of
    Regular Teacher         $8,554.00
                                            (no discipline)   these funds, and this matter is still
                                                              pending.

                                                              After a letter was sent to the
                                            Repayment only    employee demanding payment of
    Assistant Principal     $3,219.30
                                            (no discipline)   these funds, the employee paid
                                                              the entire amount owed.

                                                              After a letter was sent to the
                                                              employee demanding payment of
                                            Repayment only
    Regular Teacher         $3,019.30                         these funds, the employee agreed
                                            (no discipline)
                                                              to a bi-weekly wage deduction
                                                              until the debt is paid off.


  In these 13 cases shown in the two tables above, 14 CPS employees evaded a total of
  $59,073 in sliding-scale tuition due to the understatement of their CPS incomes.
  In the remaining two cases, the CPS employees’ income was clearly omitted from
  their children’s pre-K applications, but the OIG was unable to determine whether the


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  applicable rules and procedures utilized by OECE required inclusion of their salary.
  However, if both employees were charged tuition based on their incomes at the time
  that their children began attending the pre-K program, they would have been billed
  the amounts listed below.

         Position        Amount Owed   Recommendation            Board’s Response

                                                           After a letter was sent to the
                                                           employee demanding payment of
                                       Consider seeking
   Assistant Principal     $4,410.00                       these funds, the employee agreed
                                       repayment
                                                           to a bi-weekly wage deduction
                                                           until the debt is paid off.

                                       Consider seeking    Still assessing to determine proper
   Assistant Principal     $1,529.71
                                       repayment           action.


  In addition to causing the monetary losses discussed above, the pre-K applicants
  who understated their family incomes also subverted the sliding-scale program’s
  goal of providing pre-K to the neediest families. The sliding-scale program was
  designed to give preference for program seats to applicants with lower family
  incomes. In these investigations, at least two CPS employees admitted to the OIG
  that their decision to understate their income was motivated by a desire to ensure
  that their children received seats in the program (as opposed to the seats going to
  students with lower family incomes).
          2. Poor Controls and OIG Policy Recommendations
  The OIG also identified a number of structural deficiencies in the sliding-scale
  program that allowed applicants to understate their incomes and cause CPS to lose
  tuition revenue. Some of these deficiencies made it difficult for the OIG to determine
  the culpability of the CPS employees investigated. For example, CPS used an online
  application system that allowed the application data to be changed by CPS staff, with
  no clear record of the changes. As a result, at times the OIG was unable to determine
  what applicant information was submitted to CPS, at what time, and by whom.
  Additionally, OECE’s income verification procedures were extremely lenient and did
  little to discourage fraud. In some cases where OECE accepted “no income”
  declarations from applicants, the OIG was unable to locate any evidence that OECE
  staff actually made any efforts to verify the lack of family income. In one case, a CPS
  employee who submitted a pre-K application claimed that OECE staff accepted her
  signed statement of no income after she told them that she was a salaried CPS
  teacher. As a result, she was able to avoid receiving a bill for her child’s pre-K.



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  Notably, the 15 cases discussed here likely represent only a small fraction of the
  tuition fraud that occurred during the course of the sliding-scale program. The OIG’s
  review for potential tuition fraud was limited to pre-K parents who were also CPS
  employees. CPS employees constituted less than five percent of all parents in the
  sliding-scale program during the review period.
  In sum, the outcomes of these investigations reinforce several of the conclusions laid
  out in the performance review discussed above (18-00133), namely that CPS’s pre-K
  programs operated with insufficient oversight and little to no emphasis on
  preventing fraud or ensuring the accurate collection of tuition.
  CPS eliminated the sliding-scale program for the 2018–19 school year, but CPS
  continues to prioritize free pre-K based, in part, on parental incomes listed on pre-K
  applications. Therefore, as in the OIG’s performance review, the OIG again
  recommended that CPS require employment disclosures from applicants and add an
  attestation box and warning to the application form to discourage parents from
  understating their incomes. As discussed above, the Board has made some of the
  OIG’s recommended changes to the application form.
  In addition, the OIG recommended that CPS conduct an audit of its pre-K income-
  verification procedures to determine (1) whether current procedures comply with
  federal Head Start Program policies and regulations, and (2) what practicable steps
  may be taken to increase the efficacy of the income-verification process. The Board
  has not yet informed the OIG whether it plans to conduct this recommended audit.


  S ECTION 3 — C OACH M ISAPPROPRIATED $30,000 IN P OOL R ENTAL P AYMENTS
  Two related investigations reported by the OIG involved a high school swimming
  coach who had previously been disciplined following an OIG investigation regarding
  his use of the school pool but, nevertheless, continued to violate CPS policy as he
  enriched himself through an improper pool-rental scheme.
  By way of background, in May 2016, the OIG issued a report to the Board (15-
  00302) finding that the coach benefitted from an extremely low price to rent the
  pool for his private swim club and that he committed multiple ethical violations
  through his use of the pool. In addition, the OIG determined that the school’s
  principal and assistant principal were responsible for giving the coach the steeply
  discounted pool rental rate — approximately $1.20 per hour. By giving the coach’s
  swim club up to half a million dollars (or more) in free rent through an insider
  process, the principal and assistant principal abandoned their fiduciary duties to the
  school and Board, the OIG found.


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  In that 2016 report, the OIG recommended appropriate discipline for the coach,
  principal and assistant principal. The OIG also recommended that the Board debar
  the coach and the private swim club for an appropriate period of time. In response,
  the Board issued written warnings to the principal and assistant principal and
  initiated debarment proceedings against the coach and his swim club. The coach
  subsequently agreed to a voluntary exclusion for him and his club. The coach, who
  was also a security officer at the school, resigned his security officer position but
  continued to coach the school swim team. For additional details regarding the OIG’s
  prior investigation of this coach, please see the OIG’s 2016 Annual Report.
  In the aftermath of the OIG’s 2016 report, the OIG received new complaints that the
  coach was improperly subletting his club’s pool lease and that he was still engaging
  in business with the school, even though he was undergoing debarment
  proceedings. The OIG also discovered that, despite resigning from his position as a
  school security officer in the wake of the OIG’s prior investigation, he subsequently
  returned to CPS as an hourly employee.
  The OIG investigated those matters and reported on them in Fiscal Year 2019. In one
  case, the OIG determined that the coach entered into multiple improper side deals to
  lease the school pool to outside groups and then pocketed the nearly $30,000 in
  rental payments he collected — essentially stealing money that should have gone to
  the school. In the second case, the OIG found that the coach improperly continued to
  engage in business activities involving the school after the Board began debarment
  proceedings against him. In both those cases the OIG found that the school’s
  principal and assistant principal were also culpable. Those cases are discussed in
  more detail below.

          o Improper Rental of School Pool and Theft of Rental Fees (16-01270)
  An OIG investigation revealed that the swimming coach entered into side
  agreements to rent the school’s pool to three different outside groups without the
  knowledge of CPS’s Department of Real Estate. He entered into some of these
  agreements by improperly “subletting” a portion of time he already had leased for
  his private swim club, in violation of his club’s license agreement with the Board. For
  other side agreements, his conduct was even more egregious, as he simply rented
  out pool time that he was not entitled to at all. Each of his rental agreements with
  the outside groups was off-the-books, violating CPS rules governing the rental of CPS
  property.
  From April 2013 to September 2016, the coach collected at least $29,604 from the
  three outside groups under the coach’s off-the-books agreements and deposited
  those funds into his bank account. The school’s records showed that he never


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  transferred any of those funds to the school, which was confirmed by the school
  clerk. In fact, the school clerk did not even know that any outside groups had rented
  the pool, other than the coach’s club team. Accordingly, the OIG found that the coach
  essentially stole the nearly $30,000 in rental fees (and possibly more) he collected
  by pocketing those funds for himself, rather than turning them over to the school as
  he should have done.

  The OIG also found that the principal and assistant principal either knew or should
  have known about the coach’s informal pool-rental agreements with the outside
  groups. Although they both claimed they did not know the coach was collecting
  money directly from outside groups using the pool, emails showed that a
  representative from one of the groups informed the principal and assistant principal
  that she rented pool time directly from the school’s swimming coach, not the school.
  And the OIG’s prior investigation into the coach’s use of the pool had put the
  principal and assistant principal on notice of the coach’s questionable practices.
  As had become evident from this case and the OIG’s prior investigation of the use of
  the school’s pool, the principal, in particular, clearly maintained a very permissive
  approach towards the coach and his activities at the school. In this case, the OIG
  concluded that she was either complicit in the coach’s scheme to profit from his use
  of the school pool or willfully turned a blind eye to his dealings with outside groups.
  The OIG referred this matter to the Cook County State’s Attorney’s Office, and in
  August 2019, the State’s Attorney’s Office charged the coach with four counts of
  theft, a Class 1 felony, 720 ILCS 5/16-1(a)(1)(A), (a)(2)(A), (a)(1)(B) and (a)(2)(B),
  for his unauthorized use of the school pool to collect rent for himself, and one count
  of official misconduct, a Class 3 felony, 720 ILCS 5/33-3(a). As of December 2019, his
  criminal proceedings were still pending.
  Based on the OIG’s findings in this case, the OIG recommended that the coach be
  permanently debarred from doing any business with the Board, including any use of
  Board facilities. The Board subsequently advised that it is planning to initiate
  debarment proceedings against him.
  The OIG was also going to recommend that the Board terminate the coach’s
  employment with the district; however, before the OIG issued its report in this
  matter the Board determined that the coach should have received a Do Not Hire
  (DNH) designation in his personnel file following his resignation in the wake of the
  OIG’s first investigation of him. Accordingly, the Board terminated his employment
  and placed a DNH in his file before the OIG issued a report in this case.




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  With respect to the principal, the OIG stopped short of specifying termination as the
  OIG’s recommendation for her and left it to the Board to determine whether
  termination was appropriate in this instance. However, given her clear lack of
  supervision of the coach and her well-documented history of allowing private club
  teams to profit from the use of the school’s facilities (see, e.g., 14-00058, 15-00302
  and 15-01073), at a minimum, the OIG recommended serious discipline — such as
  an appropriate suspension — up to and including termination. In response, the
  Board advised that she was given a five-day unpaid suspension.
  The OIG recommended appropriate discipline for the assistant principal, and the
  Board subsequently advised that he was issued a written reprimand.
  Lastly, the OIG recommended that the Board consider this case and the poor
  oversight by the school’s administration as the Board continues to work on better
  guidelines and controls with respect to leasing Board facilities. The Board advised
  that the Department of Real Estate is considering this matter in those discussions.
          o Continued Business Activities with the School Despite Debarment (17-00305)
  In this investigation, the OIG determined that the coach continued to engage in
  business activities with the school during and after debarment proceedings
  involving his use of the school pool.

  The Board first initiated debarment proceedings against the coach and his private
  swim club in 2016, following the OIG’s first investigation of the coach, in which the
  OIG found that his use of the pool violated the CPS Code of Ethics and that he
  benefitted from an extremely low price to rent the pool. As part of those
  proceedings, the coach and his club were suspended from engaging in business with
  the Board. Although he stopped using the pool pursuant to his notice of debarment,
  he nevertheless attempted to merge his club with a competing club while
  simultaneously attempting to secure the school pool for that new club. Essentially,
  he sought to circumvent the debarment of his club by continuing to use the pool
  under a different name. His actions in that regard were improper and in violation of
  his suspension during his debarment proceedings.
  The OIG also found that the principal assisted him during his debarment
  proceedings by pushing the CPS Real Estate Department to rent the pool to that new
  club and to accept a low rental rate of $25 per hour, which was very favorable to that
  club and was far less than the rate the coach had been charging outside groups to
  rent the pool, as discussed above. With the principal’s assistance, the new club did,
  in fact, obtain an agreement to rent the pool for $25 per hour.




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  Shortly after that new club began renting the pool, the Board approved a settlement
  with the coach, by which the club would receive a permanent voluntary exclusion
  from doing any business with the Board and the coach would receive a temporary
  voluntary exclusion from doing any business with the Board. Nevertheless, the coach
  violated those voluntary exclusions by hosting a private and for-profit swim meet at
  the school on behalf of both his club and the new club that he had planned to merge
  with his club. The coach was paid $750 for working that event.
  Apparently, the potential merger of the two clubs never actually occurred. Although
  some of the swimmers from the coach’s club joined the new club that began using
  the school’s pool, that new club never acquired the coach’s club. Regardless, the
  coach should not have worked the for-profit event at the school.
  In addition, the OIG found that the principal and assistant principal were aware that
  the coach was involved in the private swim club meet and, nevertheless, allowed it to
  continue. They claimed that the coach misled them about the event. However, the
  evidence showed that they knew the coach had been organizing the private event at
  the school, they discussed the matter prior to the event and they allowed him to
  proceed with the event. Furthermore, the principal allowed the coach to continue
  coaching the school’s swim team, even after the OIG presented her with this
  information about his activities.
  Based on the findings in this investigation, the OIG recommended that the coach and
  his club be permanently debarred from doing any business with the Board, including
  any use of Board facilities, and that they both be placed on the Board’s list of
  debarred vendors. The Board advised that it plans to take those actions with respect
  to the coach and his club.
  The OIG recommended appropriate discipline for the assistant principal because he
  permitted the coach and his club to be involved in the private and for-profit event at
  the school. The OIG recommended serious discipline for the principal because she
  not only allowed them to be involved in the event at the school, but also assisted the
  coach during his debarment proceedings by helping the new club obtain a favorable
  lease at the school. As stated above, the Board advised that the principal was given a
  five-day unpaid suspension and the assistant principal was issued a written
  reprimand.


  S ECTION 4 — V IOLATIONS I NVOLVING S TUDENT I NFORMATION AND D ATA
  In the first two cases discussed below, CPS employees improperly designated
  students in false categories, such as listing them as “lost” before removing them


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  from the rolls or listing them as homeless for purposes of college aid applications.
  The next two cases involved the improper disclosure of private and confidential
  student information.
          o Improper Removal of Students from Rolls (18-01664)
  An OIG investigation determined that the director of culture and climate at a high
  school regularly misused the “lost child” transfer code to unenroll truant students.
  The Board’s policy and guidelines on absenteeism and truancy provide that school
  administrators may not use that code until they complete a detailed set of
  procedures designed to ensure that the code is used only as an option of last resort
  for students who cannot be located after exhausting all possible measures. Those
  procedures include, among other things, completing a “Lost Child Report”
  documenting the attempts made to find the missing student. In this case, however,
  the OIG found that the director used the code to remove truant students from the
  rolls who were expected to return to school eventually and consistently ignored the
  Board’s procedural requirements.
  Specifically, the OIG found that, from the 2016–17 school year through the 2018–19
  school year — while the director was responsible for attendance at the school — the
  school used the lost-child code to remove students from the rolls 257 times and, in
  218 of those instances, the “lost” student returned to the school and reenrolled. The
  OIG also found that, during that period, the director never complied with the
  procedural requirements when using the lost-child code.
  In addition, the OIG found that the principal failed to exercise sufficient oversight
  over the director’s enrollment and attendance practices. The principal was aware
  that the director was frequently using the lost-child code to remove students from
  the rolls and failed to put a stop to that practice, even though the principal had been
  trained on those procedures.
  The OIG found that the director’s misuse of the lost-child code had the effect of
  artificially increasing the school’s attendance rates. However, the OIG was unable to
  conclude that the director was intentionally falsifying the school’s attendance
  numbers or that the principal permitted the director’s practices in order to inflate
  the school’s attendance rates.
  The OIG recommended appropriate discipline for both the director and the
  principal. The Board advised that it is still assessing this matter to determine the
  proper disciplinary action.




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  The OIG also recommended further training for the school staff on the use of
  transfer codes, and the Board advised that the Network Chief is working with policy
  personnel on this matter and will provide the recommended training.
          o False Designation of Students as Homeless on FAFSA Applications (18-00692)
  An OIG investigation determined that a school counselor was improperly completing
  Free Application for Federal Student Aid (FAFSA) forms for students and listing
  them as homeless without their consent. Even though she had been trained that the
  FAFSA form needed to be completed directly by the students or their parents, she
  nevertheless entered the information for the students, often when they were not
  present and without their consent.
  The OIG found that the counselor improperly designated students as
  “unaccompanied homeless” on their FAFSA forms and encouraged students to list
  themselves that way in order to skip questions regarding their parents’ financial
  information. The counselor’s practices likely led to the submission of inaccurate
  information on the FAFSA forms. For example, one of the students was surprised to
  learn after she graduated that she had been inaccurately listed as unaccompanied
  homeless on her FAFSA form, which had been filled out by the school counselor.
  The principal had received complaints about the counselor’s FAFSA practices, but he
  failed to take appropriate action to ensure that her methods complied with CPS
  standards. The OIG found that the principal’s inaction constituted inattention to
  duty.
  The OIG recommended appropriate discipline for the school counselor and the
  principal. The OIG also recommended that the counselor be given additional training
  to ensure she followed FAFSA procedures correctly in the future. The Board advised
  that it was still considering this matter to determine the appropriate course of
  action.
          o Teacher Posted Confidential Student Information on the Internet (18-00712)
  An OIG investigation determined that a special-education teacher at an elementary
  school posted confidential information about her students on her personal blog,
  which was accessible by the public over the internet. The information she posted
  included students’ names, pictures and schoolwork, as well as sensitive details about
  their disabilities and troubled personal lives.
  By disclosing this information to the public, the teacher violated CPS policy
  governing the confidentiality of student records. After the OIG interviewed the



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  teacher as part of this investigation, she removed her blog from the internet,
  stopping the public disclosure of her students’ information.
  The OIG recommended that the Board terminate her employment and place a Do
  Not Hire (DNH) designation in her personnel file. The Board subsequently initiated
  dismissal proceedings against the teacher, which are still pending.
  Also, during the course of this investigation, the OIG discovered that in one of the
  teacher’s blog posts she stated one of her students had been sexually assaulted by
  the student’s uncle. The OIG assigned that aspect of the case to the OIG’s Sexual
  Allegations Unit to be investigated separately. That matter is discussed below (19-
  00262).
          o Charter Network Solicited, Received and Used CPS Student Data (16-01119)
  On at least three separate occasions over a three-year period, a charter network
  solicited confidential CPS student information and used it to recruit CPS students to
  its charter schools. Charter school administrators directed an executive assistant
  who worked at one of the charter schools to obtain the CPS student information
  from a CPS data analyst who was friends with the executive assistant. The CPS
  employee, in turn, provided the information requested at least three times — once
  in April 2014, once in March 2015 and once in July 2016.

  All told, the charter network improperly obtained at least 113,935 lines of CPS
  student data, including students’ names, home addresses, schools and grade levels.
  At least seven charter employees were involved in either seeking, obtaining or using
  the CPS student information, including the director of student matriculation, a
  recruitment officer, two principals and a dean.
  In addition to the improper solicitation, receipt and use of CPS student information,
  the OIG also found that the charter network was not fully forthcoming with CPS
  about the extent of its employees’ wrongdoing. After the charter schools sent
  recruitment mailings to CPS families using the student information it had obtained,
  CPS parents complained, prompting the charter network to conduct an internal
  investigation into the matter. Following the internal investigation, the then-president
  of the network sent a letter to CPS officials briefly explaining the findings of the
  investigation and the remedial measures being taken. Significantly, however, he
  (1) downplayed the extent of his employees’ wrongdoing; (2) failed to disclose that
  his employees initiated the improper transmission of student information by
  soliciting that information from CPS; (3) failed to address his employees’
  indifference to using the information for recruitment, despite the obvious
  confidentiality concerns associated with it; and (4) failed to disclose the extent of


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  the student data obtained, including the fact that they had obtained such
  information from CPS in prior years.
  In the aftermath of the improper disclosure and use of confidential student
  information, CPS responded by promptly terminating the employment of the one
  CPS employee involved and placing a DNH designation in her personnel file. The
  charter network’s disciplinary response, by comparison, was much weaker. It merely
  issued written reprimands to the seven charter employees involved, even though it
  apparently concluded that they violated the Illinois School Student Records Act. Two
  of those employees were subsequently promoted.
  Because the Board had already terminated the employment of the CPS employee
  who improperly disclosed the confidential student information, the OIG did not
  recommend that the Board take any further disciplinary action. However, the OIG
  recommended that the Board consider the OIG’s findings when assessing its
  business relationship with the charter network, including when assessing any
  renewal proposal the charter network submits. In response, the Board advised that
  it shared the OIG’s report with CPS’s Office of Innovation and Incubation, which will
  consider it when assessing the district’s relationship with the charter network.


  S ECTION 5 — V ENDOR M ISCONDUCT , “S TRINGING ” AND P ROCUREMENT R EFORM
          U SE   OF   V ENDOR ’ S V ACATION H OME D URING RFP P ROCESS (17-01026)
  An investigation determined that a vendor used her vacation home to influence the
  CPS procurement process while her company was being considered for a $30 million
  contract for nursing services, pursuant to a request-for-proposal process. While the
  RFP committee was evaluating proposals from various vendors seeking the contract,
  the local franchise president of one of those vendors offered a member on the
  committee the use of her vacation home. That CPS employee, who worked in the
  Office of Diverse Learner Support and Services, accepted the benefit and stayed at
  the vendor’s vacation home. In doing so, she violated CPS’s Code of Ethics, which
  prohibits employees from accepting gifts from vendors soliciting CPS work. She then
  further violated the Code of Ethics by failing to disclose the gift to CPS’s Chief
  Financial Officer as required.

  The franchise president not only improperly used her vacation home to influence a
  member of the committee deciding whether she would be awarded a multi-million
  dollar contract, she also lied to the OIG when she was asked about it. She told the
  OIG that she was unaware that the CPS employee was involved in the RFP process,
  that the CPS employee never stayed in her vacation home and that she never gave


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  the CPS employee the keys to her vacation home. The employee, however, admitted
  that she stayed in the vacation home and that she received the key from the
  president. Emails further showed that the president knew the CPS employee was
  using her vacation home and that she knew the CPS employee was involved with the
  RFP process.
  Ultimately, this vendor was not awarded the contract at issue. However, a few years
  later, CPS awarded the vendor a different contract for the same services, which the
  franchise president and her franchise have been performing.
  The OIG recommended that the Board debar both the president and the franchise
  because they violated CPS’s ethical standards and undermined the procurement
  process. With respect to the parent company, the OIG recommended that the Board
  direct it to enhance its internal policies and training related to ethics and doing
  business with CPS and that the Board require the company to certify on an annual
  basis that it has complied with CPS’s Code of Ethics and procurement policies.
  Furthermore, the OIG also recommended that the Board appoint an independent
  monitor that is paid for by the company to assess and report on the company’s
  corporate ethics and compliance culture.
  The Board advised that it is engaged in ongoing discussions with the parent
  company about implementing these recommendations, including obtaining an
  independent monitor for the parent company and debarring the franchise and
  franchise president.
  The OIG also recommended that the Board amend Section XII of the Code of Ethics
  to explicitly state that vendors and prospective vendors seeking Board work are
  prohibited from giving gifts, payments or gratuities to Board officials or employees.
  The Board advised that CPS’s Ethics Advisor is considering this recommendation.
  As for the CPS employee who served on the RFP committee and stayed at the
  vendor’s vacation home, she has since resigned from CPS. The OIG recommended
  that the Board place a Do Not Hire (DNH) designation in her personnel file, and the
  Board subsequently put a DNH in her file.
          “S TRINGING ”    IN   C ONSTRUCTION   AND   T RADE W ORK (17-00950)

  In Fiscal Year 2019, the OIG continued to investigate “stringing” violations. Board
  Rule 7 prohibits “stringing,” which is defined as dividing or planning any
  procurement program, activity, transaction, invoice, purchase order or agreement
  involving the Board or any of its operational elements (including offices,
  departments, bureaus, programs, units and schools) to avoid: (a) the competitive



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  procurement processes set forth in Board Rule 7; or (b) the limitations on delegated
  authority set forth in Board Rule 7 or 105 ILCS 5/34-8.1.5
  In 2019, the OIG reported on two separate stringing schemes by married couples
  who used their companies to split their trade work at CPS schools to avoid the
  district’s $10,000 spending limit. For this type of work, Board Rules prohibited CPS
  schools and departments from purchasing more than $10,000 in services from a
  vendor in a single year without first submitting the purchases through the
  competitive bidding process.
  In this case, an engineer at a high school admitted that he helped the two married
  couples structure their work at his school to circumvent the spending limit. In fact,
  he told the OIG that he preferred to do business with these companies because they
  have multiple vendor numbers that allow him to divide their work when it would
  otherwise exceed the spending limit.
  During this investigation, the engineer retired from CPS. But for his retirement, the
  OIG would have recommended discipline for him for helping companies string CPS
  work. Because he had retired when the OIG issued its report, the OIG recommended
  that the Board place a DNH designation in his personnel file. The Board has not yet
  placed a DNH in his file, but is considering taking that action.

  The two schemes by the married couples are discussed below.
          o First Scheme: Over $500,000 in CPS Business and Criminal History
  In the first scheme, a husband and wife used their two companies — which
  essentially operated as the same company — to split general contracting work at
  CPS schools as a means of circumventing the spending limit without going through
  the competitive procurement process. As such, the OIG found that they engaged in
  stringing in violation of Board Rules.
  Their stringing was extensive over numerous years. From Fiscal Year 2008 to Fiscal
  Year 2017, the two companies both performed work at 29 different schools in which
  their combined work at each school exceeded $10,000 in a given fiscal year. Their
  total business in those instances was $579,423, and the amount over the limit was
  $219,423 — business that they would not have otherwise obtained had they abided
  by the district’s spending limit.



  5The Board has since amended the Board Rules raising the spending limit but maintaining the
  prohibition against stringing.


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  The OIG recommended that the Board permanently debar the couple and their
  companies for violating the prohibition on stringing.
  In addition, the OIG found that the husband had been convicted of two felonies. In
  2006, before his company began doing business with the district, he was convicted
  of attempted burglary, a Class 3 felony. Then in 2013, during the period in which he
  and his wife were stringing construction work at CPS schools, he was convicted of
  possession of a stolen motor vehicle, a Class 2 felony. The OIG advised the Board
  that, because the 2013 conviction was for a crime involving the receipt of stolen
  property, that conviction alone could warrant his debarment under CPS’s
  Debarment Policy.
  The Board advised that it has initiated debarment proceedings against the husband
  and wife, as well as their companies, and those proceedings are still pending.

          o Second Scheme: Plumbing Services Strung at a High School
  In the second scheme, a different married couple used their two companies to split
  plumbing work so they too could exceed CPS’s $10,000 spending limit without going
  through the competitive procurement process. Unlike the first scheme, this couple’s
  stringing was confined to a single high school. The couple strung their services in
  three separate years at the school, conducting a total of $55,662 in business. Of that,
  $25,662 was over the limit and, thus, business that they would not have otherwise
  obtained had they abided by the district’s spending limit. As such, they also engaged
  in stringing in violation of Board Rules.
  The OIG recommended that the couple and their companies be permanently
  debarred from doing business with the Board. The Board advised that it has
  initiated debarment proceedings against the husband and wife, as well as their
  companies, and those proceedings are still pending.
          P ROCUREMENT R EFORM T ASK F ORCE R EVIEW (19-00163)
  On November 2, 2018, the City of Chicago Inspector General asked the CPS OIG and
  other offices of inspector general to take part in a joint oversight project reviewing
  the implementation of 16 recommendations made by the Procurement Reform Task
  Force in November 2015. The PRTF consisted of representatives from City
  government and sister agencies who were tasked with improving their procurement
  and contract management. The IG for the City of Chicago asked other IG offices to
  “assess whether, and the extent to which, implemented recommendations are fully
  and effectively operational.”




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  In response, the OIG’s Performance Analysis Unit carried out a performance review
  of CPS’s implementation of the 16 recommendations. The OIG subsequently
  reported its findings on each recommendation to the Board and to the City IG. The
  OIG’s review, and those of the other Chicago IGs, contributed to a Progress Report
  issued on June 4, 2019.
  The OIG found that CPS had fully implemented the following six recommendations:

      o Comply with PRTF minimum standards for awarding sole-source
        procurements and publically disclosing applications for sole-source
        procurements
      o Comply with PRTF minimum standards for conducting due diligence of
        vendors before entering into a contract
      o Submit information on minority- and women-owned business enterprise
        (M/WBE) certifications to a procurement committee for evaluation
      o Adopt uniform terms for any protests of procurement decisions and post a
        description of the protest process and rules for the public
      o Train employees on procurement rules and regulations
      o Establish a process for information-sharing among agencies about poor
        performance, noncompliance or wrongdoing by vendors

  Of the remaining 10 recommendations made by the PRTF, the OIG found that six had
  been partially implemented and that four had not been implemented at all. Those 10
  recommendations are set forth in the table below.

                           PRTF Recommendation                                OIG Finding

   Post all contractors, vendors and subcontractors on CPS’s website
                                                                         Partially Implemented
   in a user-friendly and searchable format

   Include standard language in key documents requiring contractors
   to certify that they, their principals and subcontractors have not
                                                                         Partially Implemented
   been disciplined by a government agency or otherwise violated
   any relevant law or regulation

   Prohibit significant changes to contract length (increases of more
   than a year), value (cost increases over 50%) and scope (“cardinal”   Not Implemented
   changes causing the contractor to perform very different work)



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                           PRTF Recommendation                             OIG Finding

   Use PRTF-developed process to evaluate vendors’ claims that they
                                                                      Not Implemented
   have made a good faith effort to meet M/WBE goals

   Share certain information on personnel matters with sister
                                                                      Partially Implemented
   agencies

   Adopt PRTF-developed standards for approval of non-competitive
                                                                      Partially Implemented
   procurements (small purchase, emergency, sole source)

   Create and publish a comprehensive procurement manual              Not Implemented

   Use a checklist developed by the PRTF when closing out contracts   Not Implemented

   Use a PRTF-developed guide for conducting site visits to ensure
                                                                      Partially Implemented
   vendor compliance

   Adopt PRTF-developed policy language by which a vendor
   debarred by one government agency can be automatically             Partially Implemented
   debarred by CPS


  Since the OIG issued its findings, CPS’s Procurement Department has taken steps to
  implement some of these PRTF recommendations that the OIG had found to be not
  fully implemented. For example, it has published a procurement manual and
  amended its debarment policy to meet the PRTF recommendation for automatic
  debarments. The OIG anticipates continuing to work with Procurement on these
  issues.


  S ECTION 6 — F ALSIFIED T IME , A BUSE OF B ENEFITS AND S ECONDARY E MPLOYMENT
  The first case discussed below involves two employees who, for three years, helped
  each other falsify their time. The second case involves an employee who fraudulently
  took a paid leave of absence. Three of the cases discussed below involve secondary
  employment violations and two of the cases involve the misuse of sick days.
          o Two School Psychologists Falsified Their Time (18-01738)
  An investigation determined that two school psychologists falsely recorded their
  work hours numerous times over a three-year period. Their timekeeping records
  demonstrated a pattern of swiping in and out that was consistent with rampant
  falsification. Although their work assignments were never at the same school,


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  timekeeping records showed that they were swiped on or off the clock at the same
  location on hundreds of occasions — and often the two individuals were swiped in
  or out at the same time. After initial denials from the two psychologists, they both
  admitted to the OIG that they swiped for each other, calling or texting one another to
  coordinate their swipes.
  In addition, the OIG found that they were improperly working secondary
  employment for charter schools without approval from CPS. At the charter schools,
  they performed psychological evaluations of those schools’ students. Records
  showed that they documented performing those evaluations during their CPS work
  days, and given their falsified work hours, the OIG found that they likely worked on
  charter school evaluations while they were on CPS time. By swiping for one another,
  they would have been able to arrive to their assigned CPS schools late, leave early or
  even fail to come to work at all some days. However, because the charter schools did
  not keep records of when, specifically, they worked, the OIG could not determine the
  exact extent to which they worked their charter jobs on CPS time.
  The OIG recommended that the Board terminate their employment and place Do Not
  Hire (DNH) designations in their personnel files. In the wake of the OIG’s
  investigation, both psychologists resigned from CPS, and the Board subsequently
  placed DNH designations in their files.
          o SECA Fraudulently Received Medical Leave and Disability Benefits (17-01062)
  An investigation determined that a special-education classroom assistant at an
  elementary school fraudulently received CPS medical leave, FMLA and short-term
  disability benefits while she was, in fact, able to work. Although the SECA went on
  paid leave, claiming that she was unable to work, she used her leave time to attend
  nursing school. During that period, CPS paid her over $12,000. After her leave
  ended, she failed to return to work, and her employment was terminated. The Board
  subsequently placed a DNH designation in her personnel file for an unrelated
  incident.
  Because she had left CPS and already received a DNH, the OIG did not recommend
  any further discipline. However, the OIG recommended that the Board pursue
  recovery of the more than $12,000 she received from the Board during her
  fraudulent leave, if financially practicable. The Board advised that it plans to pursue
  recovery of those funds.
          o Teacher Used Board Resources for His Side Job in Real Estate (18-00487)
  An investigation determined that a teacher at an elementary school was working a
  side job as a real estate broker without the approval of his principal and, from time


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  to time, he used CPS resources to perform his real estate work during his CPS
  scheduled work hours. The OIG found that, by using Board resources to perform his
  secondary employment during his CPS workday, he violated the CPS Code of Ethics.
  The OIG found that he also violated the Code of Ethics by failing to obtain approval
  from his principal to work his second job.
  Additionally, the OIG found that the teacher improperly used sick days to attend a
  wedding in violation of the CPS paid time off policy.
  As discussed below, the OIG also investigated the teacher’s residency and found that
  he was violating the residency policy by living in Deerfield.
  Given the residency violation, the OIG recommended that the Board immediately
  terminate his employment and place a DNH designation in his personnel file. The
  Board advised that it is in the process of making a disciplinary decision in this
  matter.
          o Teacher Failed to Obtain Approval to Work Second Job (18-00453)
  A teacher at an elementary school failed to notify her principal, and receive
  permission for, her secondary employment selling jewelry. The OIG found that the
  teacher violated CPS’s Code of Ethics, which requires employees to obtain approval
  before working secondary employment. However, the OIG concluded that her
  violation was relatively minor, given that there was no evidence she worked her
  second job on CPS time or used Board resources to perform it.
  The OIG recommended that she be given appropriate discipline, taking into account
  the relatively minor nature of the violation. The OIG also recommended that she be
  directed to complete CPS’s secondary employment approval form as required. The
  Board subsequently issued her a non-disciplinary memo about the violation.

          o Teacher Used Sick Days for a Trip to Mexico (18-00471)
  An investigation determined that a teacher at an elementary school violated CPS’s
  paid time off policy by using two and a half sick days for a trip to Mexico. In fact, she
  had a pattern of using sick days just before or after winter break, when she usually
  traveled to Mexico. Therefore, it is possible she misused sick days in conjunction
  with other trips to Mexico, as well. At the very least, however, the OIG found that she
  improperly used two and a half sick days on one of those trips.
  As discussed below, the OIG also found that she violated the employee residency
  policy by living in Manteno (17-02197).




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  Had she only violated the CPS policy on paid time off, the OIG would have
  recommended appropriate discipline, but since she violated the residency policy the
  OIG recommended that the Board immediately terminate her employment and place
  a DNH designation in her personnel file. The Board has since initiated dismissal
  proceedings against her, which are still pending.


  S ECTION 7 — E MPLOYEE R ESIDENCY F RAUD
  The cases in this section involve employee violations of the Board’s residency policy
  (residency fraud). The OIG recommends “immediate termination” when employee
  residency violators also lie about their addresses. This is because, per the Board’s
  residency policy, an employee who lies about his or her address in conjunction with
  a residency violation is subject to immediate dismissal. See Board Report 18-0627-
  PO4.

  One of the cases discussed here also involved tuition fraud because two CPS
  employees living in the suburbs sent their son to a CPS school in violation of Board
  Rules, even though he was living with them in the suburbs.
          o Central Office Employee Living in Skokie (16-01079)
  A community coordinator working in the Office of Faith-Based Initiatives was
  residing in Skokie in violation of the residency policy, despite representing to the
  district that he was living in Chicago. Shortly after he was interviewed by the OIG in
  this investigation, he resigned from CPS. At the recommendation of the OIG, the
  Board placed a Do Not Hire (DNH) designation in his personnel file.
          o SECA Living in Romeoville Enrolled His Son in Free CPS Pre-K (16-01403)
  A SECA at an elementary school represented to the district that he was living in
  Chicago when he actually was living in Romeoville in violation of the residency
  policy.
  This residency investigation was also part of a larger investigation involving
  improper pre-K perks for staff members at the SECA’s school. That larger
  investigation (16-01403) is discussed in detail above. This SECA was one of the staff
  members who benefitted from that perk. Notably, he listed a false Chicago address
  on his son’s pre-K enrollment file, and then brought his son from Romeoville to the
  CPS school where the SECA worked to attend the free all-day pre-K that was not
  available to the public and which the staff members should not have received.




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  The OIG recommended that the Board terminate the SECA’s employment and place a
  DNH designation in his personnel file. The Board advised that it is still assessing this
  matter to determine the appropriate action to take.
          o Teacher Resided in Cicero (17-00859)
  An investigation determined that an elementary school teacher was living in Cicero
  and had been living there since 2010 while working for CPS. In addition to violating
  the residency policy, she also lied to the district multiple times over the years by
  claiming she lived at Chicago addresses where she never actually lived.
  The OIG recommended that the Board immediately terminate her employment and
  place a DNH designation in her personnel file. She subsequently resigned, and the
  Board placed a DNH in her file.
          o Central Office Employee Living in River Forest (17-00934)

  The OIG found that a team leader in the CPS Accounting Department violated the
  residency policy by living in River Forest. She also misrepresented her residency to
  the district by claiming that she was living in Chicago. After she was interviewed by
  the OIG in this investigation, she resigned from CPS. The Board subsequently placed
  a DNH in her personnel file, pursuant to the OIG’s recommendation.
          o Teacher Living in Manteno (17-02197)

  A teacher at an elementary school was living in Manteno in violation of the
  residency policy since 2006. She not only failed to notify the district that she moved
  to Manteno, she also twice updated her address-of-record with CPS with false
  Chicago addresses. The OIG recommended that the Board immediately terminate
  her employment and place a DNH designation in her personnel file. The Board
  subsequently initiated dismissal proceedings against her, which are still pending.

  In a related investigation discussed above, the OIG found that she also violated the
  CPS policy on paid time off (18-00471).
          o School Clerk Resided in Calumet Park (18-00312)
  An investigation determined that a school clerk at a high school represented that he
  was living in Chicago when he was actually living in Calumet Park in violation of the
  residency policy. The OIG recommended that the Board immediately terminate his
  employment and place a DNH designation in his personnel file. The Board followed
  the OIG’s recommendation and terminated the school clerk’s employment; however,
  a hearing officer subsequently reversed the Board’s decision, and the employee was
  reinstated.


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          o Two Employees Living in Hazel Crest Enrolled Son in CPS (18-00321)
  An investigation determined that a special-education classroom assistant and a
  technology coordinator were living in Hazel Crest with their son, who was attending
  a CPS elementary school. The SECA and technology coordinator moved to the
  suburbs with their son during the 2013–14 school year. However, they continued to
  represent to CPS that they were living in Chicago while the parents maintained their
  CPS employment and their son continued to attend his CPS school.
  The OIG found that the parents violated the employee residency policy by living in
  the suburbs and that they violated Board Rules by enrolling their son in CPS for the
  2014–15, 2015–16, 2016–17, 2017–18 and 2018–19 school years, even though he
  was no longer a Chicago resident. The OIG also found that the parents owed nearly
  $53,000 in non-resident tuition for the first four years, when their son attended CPS
  for the full year.6 Because the son had not yet completed the 2018–19 school year at
  the time the OIG issued its report to the Board, the OIG found that the parents owed
  a prorated proportion for that school year based on the amount of the year he
  attended CPS.
  The OIG recommended that the Board immediately terminate the parents’
  employment and place DNH designations in their personnel files. Additionally, the
  OIG recommended that the son be disenrolled from his elementary school, unless he
  reestablishes residency in Chicago. Finally, the OIG recommended that the Board
  pursue recovery of the non-resident tuition owed by the family, if financially
  practicable.
  In the wake of the OIG’s investigation, the parents resigned from CPS and the Board
  placed DNH designations in their files. With respect to their son, the Board adopted
  a finding that he was a non-resident of Chicago, and the parents disenrolled him
  from CPS. The parents and the Board are currently discussing a payment plan for the
  outstanding non-resident tuition.
          o Teacher Living in Lansing (18-00371)
  An investigation determined that an elementary school teacher violated the
  residency policy by living in suburban Lansing. Despite living in Lansing, where her
  son attended public school, she represented to CPS that she was residing in Chicago.
  Shortly after she was interviewed by the OIG in this investigation, she resigned from

  6Not only are suburban students subject to disenrollment, their families also owe CPS tuition for
  the years the students attended CPS schools as non-residents. The statutory non-resident tuition
  rate varies slightly from year to year. For the 2018–19 school year, the rate was $13,936 per
  student.


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  CPS. At the recommendation of the OIG, the Board placed a DNH designation in her
  personnel file.
          o Teacher Resided in Deerfield (18-00487)
  An elementary school teacher represented that he was residing in Chicago, even
  though he was actually residing in Deerfield. Accordingly, the OIG found that he
  violated the residency policy. The OIG recommended that the Board immediately
  terminate his employment and place a DNH designation in his personnel file. The
  Board advised that it is in the process of making a disciplinary decision in this
  matter.
  As discussed above, the OIG also found that the teacher violated the CPS policy on
  paid time off and improperly used CPS resources to perform his secondary
  employment.

          o Teacher Living in Park Ridge (18-00717)
  A high school teacher represented that he was residing in Chicago, while violating
  the residency policy by living in Park Ridge. Shortly after the OIG interviewed him in
  this investigation, he resigned from CPS. The Board subsequently placed a DNH
  designation in his personnel file at the recommendation of the OIG.
          o Teacher Resided in Glenview (18-00903)

  An investigation determined that a high school science teacher was living in
  Glenview and had been living there during the entirety of her 14-year CPS career in
  violation of the residency policy. She also lied to the district throughout that period
  by representing that she was living in Chicago when she was actually living in
  Glenview. The OIG recommended that the Board terminate her employment and
  place a DNH designation in her personnel file.

  The OIG recognized that, as a science teacher, she was in a special-needs position for
  the district and eligible to receive a residency waiver — though she never obtained
  one. Although the OIG recommended that her employment be terminated for
  violating the residency policy and lying to the Board, the OIG acknowledged that the
  Board may wish to treat her potential waiver eligibility as a mitigating factor.
  In response to the OIG’s recommendations, the Board initiated dismissal
  proceedings against the teacher, which are still pending.




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          o School Culture Coordinator Living in Evanston (18-00997)
  A school culture coordinator represented that he was living in Chicago, even though
  he actually had been living in Evanston during the entirety of his five years with CPS
  in violation of the residency policy. The OIG recommended that the Board
  immediately terminate his employment and place a DNH designation in his
  personnel file. The Board subsequently terminated his employment and placed a
  DNH in his file.
          o Teacher Living in Arlington Heights (18-01171)
  A teacher at an elementary school was living in Arlington Heights since 2008 in
  violation of the residency policy. She also misrepresented her residency to the
  district by maintaining her old Chicago address as her address-of-record with CPS.
  The OIG recommended that the Board immediately terminate her employment and
  place a DNH designation in her personnel file.
  She resigned from CPS in the wake of the OIG’s investigation, and the Board placed a
  DNH in her file.
          o School Security Officer Resided in Maywood (18-01399)
  A security officer at an elementary school represented that he was living in Chicago,
  even though he actually had been living in Maywood for 15 years in violation of the
  residency policy. Accordingly, the OIG recommended that the Board immediately
  terminate his employment and place a DNH designation in his personnel file. The
  Board advised that it is in the process of making a disciplinary decision in this
  matter.
          o Lunchroom Attendant Resided in Forest Park (18-01827)
  A lunchroom attendant at a high school represented that she was living in Chicago,
  even though she actually had been living in Forest Park for at least the last seven
  years in violation of the residency policy. The OIG recommended that the Board
  immediately terminate her employment and place a DNH in her personnel file. She
  subsequently resigned from CPS in the wake of the OIG’s investigation, and the
  Board placed a DNH in her file.




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  S ECTION 8 — S EXUAL A LLEGATIONS U NIT I NVESTIGATIONS
          B ACKGROUND
  In Fiscal Year 2019, the OIG formed a new unit — the Sexual Allegations Unit —
  tasked with investigating sexual misconduct allegations in which the victim is a CPS
  student and the subject is a CPS employee or other CPS-affiliated adult. Previously,
  CPS’s Law Department investigated those matters. However, in the aftermath of the
  Chicago Tribune’s “Betrayed” series, documenting instances in which such matters
  were mishandled, the IG publicly recommended that the OIG take over responsibility
  for investigating those cases.
  At that time, the IG concluded that inherent conflict-of-interest problems — as noted
  by the Tribune’s reporting — made it impossible for the Law Department to conduct
  truly independent investigations. The Law Department had been simultaneously
  investigating sexual misconduct by CPS employees while defending the district
  against lawsuits by the victims of those same crimes. Those competing interests
  made it impossible to tell whether the Law Department was working for student
  victims or trying to limit the district’s legal exposure.
  The IG proposed that, by placing these cases under the investigative purview of the
  OIG, such allegations would be investigated impartially, by a factfinder with a record
  of independence and transparency. Simply put, the OIG would not be conflicted by
  other interests while investigating these matters, and the OIG would publicly report
  on them. As in all its cases, the OIG would conduct thorough investigations, while
  also coordinating with law enforcement and prosecutors to ensure that criminal
  investigations, where applicable, were not jeopardized.
  The Board agreed with the IG’s proposal, and on June 27, 2018, passed a resolution
  (18-0627-RS4) granting the OIG specific authority to investigate these matters. In
  that resolution, the Board committed to dedicating the resources necessary for the
  OIG to assemble a team devoted to investigating sexual misconduct.
  In the following months, the OIG began forming the Sexual Allegations Unit, and that
  unit commenced operations on October 1, 2018, with a commitment to investigating
  every case involving allegations that could be construed as sexual or potentially
  sexual. Consequently, the OIG SAU has a very high volume of cases, opening nearly
  500 investigations during Fiscal Year 2019. The SAU works its cases to conclusion,
  with written reports to the Board on both the substantiated and unsubstantiated
  cases.
  As part of its work, the OIG SAU coordinates with the Illinois Department of Children
  and Family Services, law enforcement and prosecutors, when appropriate, and also


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  regularly coordinates with CPS’s Office of Student Protections, Law Department and
  Talent Office, to ensure that victims are receiving necessary supports and to help
  determine whether CPS employees, vendors or volunteers need to be removed from
  schools as a precautionary measure pending the outcome of the OIG’s investigation.
  In addition, the OIG provides the Board with monthly updates on the status of the
  SAU cases and makes public presentations about the SAU’s work at Board Meetings
  on a quarterly basis. In Fiscal Year 2019, the OIG made its first two of these public
  presentations — on January 23, 2019, and on April 24, 2019.
          C ASE I NVENTORY , A LLEGATIONS , P OLICE I NVOLVEMENT               AND   P ERSONNEL A CTION
  During Fiscal Year 2019, the OIG opened 458 SAU cases, including four cases that
  had been opened by the CPS Law Department before October 2018, when the SAU
  began investigating cases. The rate of reports received by the OIG fluctuated at
  around three cases per school day.

                       Oct.     Nov.     Dec.        Jan.     Feb.      Mar.       Apr.    May        June
   New Cases           51       45       35          44       62        72         42      65         42
   (cumulative)                 96       131         175      237       309        351     416        458
   Avg. # Cases
                       2.32     2.81     2.33        2.75     3.88      3.43       2.80    2.95       3.00
   per School Day


  When these cases were opened the OIG categorized them based on the allegations in
  the complaint. The table below shows the OIG’s breakdown of the cases by category.

   Category                            Definition                                                 FY 2019
   Sexual Act                          Penetration                                                   37
                                       Physical conduct for sexual gratification, e.g.
   Sexual Abuse                                                                                      46
                                       groping, fondling
   Sexual Comments — in person         Unambiguously sexual comment to a student                     32
                                       Actions to break down inhibitions for the
   Grooming                                                                                          64
                                       purpose of sexual conduct
                                       Sexual text messages, emails or other
   Sexual Electronic Communication                                                                    7
                                       communications
                                       Touching of a possible (not obvious) sexual
   Touching: Less than Sexual Abuse                                                                  45
                                       nature
                                       Leering, “creepy” behavior or other potentially
   Concerning: Other                                                                                208
                                       concerning behavior




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   Category                                Definition                                           FY 2019
                                           Recent outcry concerning behavior towards a
   Old Allegations                                                                                  8
                                           staff member
   Student-on-Staff Inappropriate          Students initiating concerning behavior towards
                                                                                                   11
   Conduct                                 a staff member


  As shown in the next table, many of these cases were also investigated by the police,
  and 15 cases resulted in criminal charges.

   Police-Involved Cases                                                              FY 2019

   Total CPD-involved cases                                                               75

   Active (including two non-criminal investigations)                                     24

   Suspended or Unfounded                                                                 36

   Charged/Indicted                                                                       15


  The OIG’s SAU investigations resulted in 155 temporary or permanent CPS
  personnel actions during Fiscal Year 2019. Most of these actions were decisions to
  remove employees from schools while they were under investigation to ensure that
  children were being protected. For 36 employees, the investigations led to the end of
  their employment with the district, either through termination, resignation or
  retirement.

   Personnel Action                                                                 FY 2019

   Staff pulled or blocked from schools                                                  109
   Staff reinstated on OIG’s recommendation                                               10

   Staff terminated, resigned or retired                                                  36
   Total                                                                                 155


           I NVESTIGATIONS C ONCLUDED            IN   F ISCAL Y EAR 2019
  In Fiscal Year 2019, the OIG completed 136 SAU investigations and issued reports to
  the Board in each of those matters. In 34 of those cases, the OIG reported
  substantiated findings. The OIG found that the other 102 cases were
  unsubstantiated.




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  complaint was not sexual on its face. Consequently, in many SAU cases the OIG
  found, after a thorough investigation, the conduct at issue was, in fact, non-sexual. Of
  course, for some of the SAU cases reported in Fiscal Year 2019 the OIG found very
  serious sexual misconduct.
          1. Substantiated Cases Resulting in Criminal Charges
  In the two cases below, the OIG found that adults committed sexual misconduct with
  students. Both cases resulted in criminal charges following police investigations.
          o Vendor Employee Exposed Himself and Touched Student Sexually (18-01595)
  An investigation determined that an employee of a vendor who worked with
  students at an elementary school engaged in sexual misconduct with a preteen
  student multiple times over several weeks. Among other things, he exposed himself
  to her, showed her naked photos of himself and inappropriately touched her.

  He was removed from the school, fired by the vendor that employed him and
  arrested by the Chicago Police Department following concurrent investigations by
  the CPD and DCFS. He was later indicted in the Circuit Court of Cook County for
  aggravated criminal sexual abuse (five counts) and predatory criminal sexual assault
  of a child (three counts). His criminal case remains pending.
  Needless to say, given the severity of his conduct, the OIG found that he clearly
  violated CPS policy, which strictly prohibits sexual conduct between school
  personnel (including vendors) and students. His conduct also constituted sexual
  harassment and violated several other provisions of CPS’s policies and guidelines.
  The OIG recommended that he be permanently debarred as a CPS vendor and that
  he be banned from any CPS property. The Board subsequently advised it is in the
  process of initiating debarment proceedings against him.

          o School Bus Aide Made Sexual Advance Towards Student (18-01273)
  An investigation determined that, as a school bus aide approached a high school
  student from behind, he touched her inappropriately and made a sexual comment
  about her body. The OIG found that the school bus aide engaged in sexual
  misconduct in violation of CPS’s sexual harassment policy. The OIG further found
  that his conduct constituted an improper sexual advance towards a student and that
  he improperly targeted a student for personal attention in violation of CPS’s
  guidelines.




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  As a result of this incident, the Cook County State’s Attorney’s Office charged the
  school bus aide with misdemeanor battery, 720 ILCS 5/12-3(a)(2). His criminal case
  remains pending.
  The OIG recommended that the Board terminate his employment and place a Do Not
  Hire (DNH) designation in his personnel file. The Board subsequently terminated his
  employment and put a DNH in his file.

          2. Sexual Misconduct Between a Principal and Teacher7 (19-00032)
  The OIG found that a principal committed sexual misconduct by having non-
  consensual sex with a teacher. The teacher reported the incident to the Chicago
  Police Department, and that investigation is still pending.
  The OIG also found that the unwelcomed sexual conduct, which created a hostile
  work environment at the school, clearly constituted sexual harassment under CPS
  policy. The principal also violated CPS’s non-fraternization policy because the
  principal supervised the teacher with whom he had sex, and he did not report his
  involvement with her as required.
  Significantly, the principal did not cooperate in the OIG’s investigation. Although he
  appeared for an interview, he refused to answer any questions about the incident in
  question. Accordingly, the OIG found that he violated Board Rule 4-4(m), which
  requires all CPS employees to cooperate with OIG investigations.
  Following the OIG’s interview of the principal, he immediately resigned from CPS.
  The OIG recommended that the Board place a DNH designation in his personnel file
  and also recommended that the Board consider referring this matter to ISBE for the
  possible revocation of his certificates.
  The Board subsequently placed a DNH in his file and referred the matter to ISBE,
  which then opened its own investigation into the principal.
          3. Failure to Report Suspected Sex Abuse (19-00262)
  An investigation determined that a special-education teacher at an elementary
  school posted on her personal blog that she heard one of her students state that she
  was sexually assaulted by a relative. The OIG found that the teacher failed to notify
  DCFS about the alleged sexual abuse as she was required to do under CPS’s

  7 Although the OIG SAU mostly investigates adult-on-student sexual misconduct, this
  investigation of adult-on-adult sexual misconduct was a high priority case referred to the OIG,
  and the SAU was the OIG unit best equipped to handle it. It was the only such matter the OIG
  reported to the Board in Fiscal Year 2019.


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  mandated reporter policy, which provides that mandated reporters, such as her,
  must immediately call DCFS when they have reasonable cause to believe that a child
  known to them in their official capacity may have been abused. In this case, the
  teacher believed that she probably would have told her principal about the sexual
  abuse reported by her student, but she said she did not realize she was supposed to
  call DCFS. The teacher clearly lacked a sufficient understanding of the policy, which
  she failed to follow.
  The OIG recommended that the teacher’s employment be terminated and that a DNH
  designation be placed in her personnel file. The OIG also notified DCFS about the
  matter and referred it to CPS’s Office of Student Protections to ensure that the
  student at issue was receiving appropriate support.
  The Board subsequently initiated dismissal proceedings against the teacher, which
  are still pending.
  Notably, this case arose from a related OIG investigation discussed above, in which
  the OIG found that this teacher was improperly posting confidential student
  information on the internet (18-00712).
          4. Other Sexual Harassment and Discrimination Cases
  In the following three investigations, the OIG found that teachers’ conduct violated
  CPS’s non-discrimination and sexual harassment policy.
          o Teacher Required Students to Write about Sexual Fantasies (18-01538)
  An investigation determined that a teacher at a high school made several
  inappropriate and offensive comments to students, many of which were sexual and
  directed to female students. He also required students to write journal entries about
  their sexual turn-ons and fantasies for a grade. The OIG found that his actions
  constituted sex discrimination and sexual harassment in violation of CPS policy. In
  addition, his conduct was strictly prohibited by CPS’s guidelines regarding
  maintaining professional boundaries with students.
  The OIG recommended that the Board terminate his employment and place a DNH
  designation in his personnel file. He subsequently retired, after the Board initiated
  dismissal proceedings against him. The Board then placed a DNH in his file.

          o Inappropriate Comments and Physical Contact by Gym Teacher (18-01355)
  An investigation determined that a gym teacher at a high school had inappropriate
  physical contact with female students, including putting his arms around their
  shoulders and touching their backs. The OIG also found that it was more likely than


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  not that the gym teacher made an inappropriate sexual comment about a female
  student. Although his physical contact with students was not overtly sexual, the OIG
  concluded that he violated CPS’s sexual harassment policy, as well as CPS’s
  guidelines on maintaining professional boundaries with students. The OIG found
  that the repeated physical contact with students combined with the sexual comment
  created a hostile learning environment for one of his students by interfering with
  her ability to participate in or benefit from gym class.
  The OIG recommended appropriate discipline for the gym teacher, and the Board
  initiated dismissal proceedings against him, which are still pending.
          o Teacher Sent Overly Friendly Emails to Female Students (18-01292)
  A high school teacher sent several emails to two female students about non-
  academic matters, some of which were overly friendly and familiar and sent late in
  the evening. The OIG did not conclude that this conduct constituted grooming under
  CPS policy because there was insufficient evidence that he was emailing students for
  the purpose of sexual abuse. However, the OIG found that the teacher violated CPS’s
  guidelines on maintaining professional boundaries with students because his emails
  were well outside the bounds of an appropriate relationship between staff and
  students. The OIG also found that the emails violated CPS’s policy regarding the use
  of the CPS network and computer resources. In addition, the OIG found that, because
  the teacher appeared to have directed his individualized attention and
  communications to female students only, he acted towards them in a sexually
  discriminatory manner in violation of CPS’s non-discrimination and sexual
  harassment policy.
  The OIG recommended appropriate discipline for the teacher. In the wake of the
  OIG’s investigation, the teacher resigned from CPS, and the Board placed a DNH
  designation in his personnel file.
          5. Other Policy and Guidelines Violations
  In the following cases, the OIG did not find that sexual misconduct occurred, but
  found that the conduct at issue violated CPS policy or guidelines.
          o Coach Sent Text Messages to His Team in Violation of Guidelines (18-01302)

  A high school athletic coach sent group text messages regarding team matters to his
  team at all hours of the day, including during school and late in the evening. He also
  connected with several of his players on social media and occasionally shared posts
  and messages with them. After these communications by the coach were first



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  reported, the Board terminated his employment and placed a DNH designation in his
  personnel file.
  The OIG subsequently investigated the matter and found no evidence that the coach
  ever shared sexual or overly personal content with any student or otherwise
  engaged in sexual misconduct. Nonetheless, the OIG found that the coach violated
  CPS guidelines by communicating with his team via text message and by connecting
  with players on social media. Given that the coach was no longer a CPS employee
  when the OIG issued its report to the Board on this matter, the OIG did not
  recommend any further action.
          o Lunchroom Attendant Connected with Students on Social Media (18-01309)
  A lunchroom attendant at a high school inappropriately added friends on Snapchat
  without first verifying if they were students and allowed at least one student to
  remain on her friends list after determining that she was a student. She also
  admitted that she had other students as friends on Snapchat in the past. The OIG
  found that this conduct violated CPS policy, which prohibits CPS employees from
  connecting with students on social media.
  The OIG recommended that she be given appropriate discipline. She subsequently
  resigned from CPS.

          o Improper Boundary Crossing Between Porter and Students (18-01324)
  An investigation determined that a porter at an elementary school acted in an
  unprofessional and overly friendly manner with students through his playful banter
  and antics during the lunch period. The evidence did not warrant a finding of
  grooming, but the OIG found that his conduct violated CPS policy on maintaining
  professional boundaries with students. The OIG recommended appropriate
  discipline for the porter, and the Board advised that it took no action against him.
          o School Security Officer Made Inappropriate Sexual Comments (18-01360)
  An investigation determined that a security officer at an elementary school made
  inappropriate and lewd comments about women to students and adults, and
  otherwise behaved inappropriately in the workplace. Among other things, he told
  students that their mothers were “sexy.” Notably, the OIG found no evidence that he
  made sexual comments about children. However, the OIG found that his comments
  about adult women were inappropriate and unprofessional.
  At the recommendation of the OIG, the Board terminated his employment and
  placed a DNH designation in his personnel file.



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          o School Social Worker Bought Gifts for Fifth Grader (18-01362)
  A social worker at an elementary school bought gifts for a fifth-grade student,
  including a scooter and a tablet, and took her on 10 or more non-educational
  excursions over a 16-month period. The OIG, however, concluded that this activity
  did not rise to the level of sexual misconduct. There was no evidence that the social
  worker ever crossed physical boundaries with the student, and the social worker
  always brought his nephew (a third grader) along with the student on the
  excursions, which were all in public places and appropriate for children. Thus, the
  social worker was not creating isolated, one-on-one interactions with the student.
  Ultimately, the OIG found no evidence that the social worker was developing a
  personal relationship with the student for the purpose of sexual abuse. Accordingly,
  his conduct did not constitute grooming under CPS policy.

  While the OIG did not conclude that the social worker committed sexual misconduct,
  the OIG found that he violated CPS’s guidelines on maintaining professional
  boundaries with students and that he violated the student travel policy by driving
  the student to their excursions in his private vehicle.
  The OIG recommended appropriate discipline for the social worker. The Board
  subsequently initiated dismissal proceedings against him, which are still pending.

          o Security Officer’s Sexual Comments to a Student (18-01478)
  A security officer at a high school asked a male student if he had engaged in a sexual
  act with his girlfriend. Although the security officer discussed sexual subject matter
  with the student, there was no additional evidence to support a finding of sexual
  misconduct. The OIG, however, found that his comment was inappropriate and
  violated CPS’s guidelines on maintaining professional boundaries with students,
  which specifically prohibit the type of statement made by the security officer in this
  case.
  The Board had already terminated the security officer’s employment and placed a
  DNH designation in his personnel file when the OIG issued its report in this matter.
  As such, the OIG did not make any further recommendations.
          o Teacher’s Non-Sexual But Improper Touching of Students (18-01521)

  An investigation determined that a special-education teacher at an elementary
  school routinely made physical contact with students in class, including what
  students described as him “hitting” or “slapping” them in a manner that made them
  feel uncomfortable. The OIG found that the physical contact was not discernably
  sexual in nature, but that it violated Board rules regarding teachers’ physical contact


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  with students, as well as CPS’s guidelines on maintaining professional boundaries
  with students.
  The OIG recommended appropriate discipline for the teacher, and the Board
  initiated dismissal proceedings against him, which are still pending.
          o Photos of Scantily Clad Women in View of Students (18-01535)
  A security officer at an elementary school used a CPS computer at a school security
  station to browse a dating website containing photos of women in underwear or
  bikinis, while students were in the vicinity. Students reported that the security
  officer continued to browse the website in their presence, even though they could
  see the offensive photos on the computer screen.
  After this incident was first reported, the Board terminated the employment of the
  security officer and placed a DNH designation in his personnel file. The OIG
  subsequently investigated the matter, finding that the security officer’s conduct was
  offensive to students based on their gender and violated CPS policy regarding the
  use of the CPS network and computer resources. Given that the security officer was
  no longer a CPS employee at the time the OIG issued its report, the OIG did not
  recommend any further action.
          o Non-Sexual Conduct Involving Teacher at Charter High School (18-01554)

  An investigation determined that a teacher at a charter high school had hugged
  students and touched their upper backs and shoulders. The teacher had also been
  alone with a student in an office on two occasions and had texted various students
  on a field trip. The OIG found that the teacher’s interactions with students were not
  sexual in nature, but that they would have violated policy and guidelines for CPS
  staff. The teacher’s physical contact with students, while non-sexual, appeared to be
  beyond a professional and appropriate boundary with students, and being alone
  with students in the office was sufficient to give the appearance of impropriety. As
  for the text messages, although they would have normally been permitted, given that
  they were necessitated by educational activities, the teacher had not obtained
  consent from the principal and parents to send the texts.
  The OIG recommended that the Board share the OIG’s report with the charter school
  and that the charter consider appropriate discipline for the teacher. The charter has
  not yet responded with its determination on the matter.




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          o Security Officer Gave His Phone Number to a Student (18-01555)
  A security officer at an elementary school gave his personal phone number to a
  seventh-grade student and told her that she could call him anytime if she needed to
  talk. He also hugged the student on at least one occasion. After this incident was first
  reported, the Board terminated the employment of the security officer and placed a
  DNH designation in his personnel file.

  The OIG investigated the matter and concluded that, while this case did not rise to
  the level of sexual misconduct, the security officer violated CPS’s guidelines for
  maintaining professional boundaries with students and also violated CPS policy
  governing the proper channels of communications with students. Although he
  apparently never actually spoke with the student over his phone, he intended for the
  student to contact him outside the authorized CPS network to discuss matters
  unrelated to school, which was improper. Given that the security officer was no
  longer a CPS employee at the time the OIG issued its report, the OIG did not
  recommend any further action.
          o Vendor Employee Asked to Connect with Student on Social Media (18-01557)
  A vendor employee gave a high school student a candy bar, asked her if she had
  social media accounts and then asked her to add him to her accounts. Given that this
  was only a single instance of giving a student candy and asking to connect on social
  media, without evidence that he had the intent of breaking down her inhibitions for
  the purpose of sexual abuse, the OIG could not conclude that this rose to the level of
  grooming. The OIG, however, found that his conduct violated the guidelines on
  maintaining professional boundaries with students, as well as the CPS policy
  prohibiting communicating with students on personal social media accounts.

  At the time the OIG issued its report to the Board, he was no longer employed by the
  CPS vendor. Accordingly, the OIG reported its findings but did not recommend any
  further action. The Board has advised that, in the event this individual ever applies
  to work for CPS, the Board will consider his conduct in this case when reviewing his
  application for employment.
          o Students Viewed Pornographic Images on Teacher’s Tablet (18-01613)

  While a seventh-grade student was using his teacher’s personal tablet, the student
  found pornographic images on it and showed them to other students. Based on the
  evidence, the OIG concluded that the teacher actually did not know that the
  pornographic pictures were on his tablet and that he had taken some protective
  measures to prevent students from accessing private information on his tablet.
  Nevertheless, the OIG found that the teacher violated CPS’s guidelines on


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  maintaining professional boundaries with students because he failed to provide
  adequate supervision to ensure that the students did not view pornographic content
  on his tablet.
  The OIG recommended appropriate discipline for the teacher, and the Board placed
  him on a Level Two Performance-Improvement Plan.
          o Substitute Teacher’s Inappropriate Comments to Students (18-01681)

  A substitute teacher made racially- or ethnically-focused sexually inappropriate
  comments to eighth-grade girls that made them uncomfortable. Specifically, he told
  one girl that she had “grown into a beautiful woman” and should “uplift” the men of
  her race. He told another girl that the people of her ethnicity are good lovers. The
  OIG found that these comments violated CPS’s guidelines on maintaining
  professional boundaries with students.

  The OIG recommended appropriate discipline for the substitute teacher. The Board
  advised that a disciplinary review of this matter is still pending.
          o Inappropriate Language in Verbal Spar with Student (18-01736)
  A vendor employee who mentored and tutored CPS students used inappropriate
  sexual language with a high school student while they were sitting in the bleachers
  watching a basketball game. The mentor and student were lightly teasing each other,
  until the interaction escalated when both parties made comments about the other’s
  genitalia. The OIG found that the mentor’s comments were unprofessional and
  violated CPS’s guidelines regarding maintaining professional boundaries with
  students. There was no evidence that any other misconduct occurred between the
  two individuals.
  After the incident, the mentor was reassigned to a different school. The OIG
  recommended that the Board consider whether any further action against the
  mentor or vendor was necessary and that, if the Board determined that further
  action was warranted, the Board should communicate that to the vendor for
  appropriate follow up. The Board subsequently informed the vendor that the mentor
  is no longer permitted to work with CPS.
          o Teacher’s Inappropriate Conduct with Students (18-01800)

  A temporarily assigned teacher at an elementary school improperly interacted with
  seventh- and eighth-grade students, including speaking with students about a song
  that references strippers and offering a student a tampon when she asked for a




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  Band-Aid. The OIG found that this did not constitute sexual misconduct but that it
  violated CPS’s guidelines on maintaining professional boundaries with students.
  Because the teacher was in a temporary position and had been removed from the
  school during the OIG’s investigation, his position ended and he was no longer
  working for CPS when the OIG issued its report. Therefore, the OIG recommended
  that the Board place a DNH designation in his personnel file, which the Board
  subsequently did.
          o Security Officer Sent Student Flirtatious Text Messages (18-01824)
  An investigation determined that a security officer at an elementary school sent
  flirtatious text messages to a student who was a senior at a CPS high school.
  Although the student did not attend the security officer’s school, he met her while
  she was participating in an event at his school, and the OIG concluded he likely knew
  or should have known that she was a student. The evidence showed that he gave her
  his personal phone number and that she later texted him, at which time he asked
  how old she was and she told him she was 18. He followed with flirtatious texts. The
  OIG, however, found no evidence that they ever met again in person.
  The OIG found that, while the evidence in this case did not rise to the level of sexual
  misconduct, the security officer violated CPS’s guidelines on maintaining
  professional boundaries with students and also violated the CPS policy generally
  prohibiting staff from texting students on their personal phones.
  The OIG recommended appropriate discipline for the security officer. The Board
  subsequently terminated his employment and placed a DNH designation in his
  personnel file.
          o Security Officer Improperly Referenced Sex (19-00037)

  While a security officer at a high school was patrolling the lunchroom he saw two
  juniors hugging and, in an effort to get them to separate, sarcastically asked them if
  they were trying to have sex. The OIG found that, while his comment did not
  constitute sexual misconduct, it violated CPS’s guidelines on maintaining
  professional boundaries with students.
  The OIG recommended appropriate discipline for the security officer, and the Board
  subsequently suspended him for 15 days without pay. He has since returned to
  work.




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          o Male SECA Walked into Entryway of Girls’ Bathroom (19-00039)
  A male special-education classroom assistant at an elementary school walked into
  the entryway of the girls’ bathroom while several sixth-grade students were inside
  to tell them to hurry up. The OIG did not find that this incident rose to the level of
  sexual misconduct. It was a one-time event, he did not walk fully into the bathroom
  and he only walked into the entryway to tell the students to hurry. Nevertheless, the
  OIG found that this conduct violated CPS’s guidelines for maintaining professional
  boundaries with students.
  The OIG recommended appropriate discipline for the SECA. Following the
  investigation, however, the SECA resigned from CPS.
          o SECA’s Non-Sexual Touching of Pre-K Student (19-00054)
  An investigation determined that a special-education classroom assistant at an
  elementary school touched pre-kindergarten students on the shoulder in a playful
  manner and potentially poked them in the ribs. One student complained about being
  touched in this manner and asked the SECA to stop, but he did not stop. The student
  then became increasingly nervous about coming to school and interacting with the
  SECA. Although the SECA’s touching of the pre-K student was not sexual in nature,
  the OIG found that it violated CPS’s guidelines on maintaining professional
  boundaries with students.
  The OIG recommended appropriate discipline for the SECA. The Board subsequently
  terminated his employment and placed a DNH designation in his personnel file.
          o Substitute Teacher’s Sexual Gesture to a Student (19-00085)
  While a substitute teacher was working at a computer with a senior, he typed a
  sexual innuendo on the screen and made a sexual gesture to the student. There was
  no evidence of any further improper interaction between him and her. The OIG
  found that this conduct did not rise to the level of sexual misconduct but that he
  clearly violated CPS’s guidelines on maintaining professional boundaries with
  students.
  The OIG recommended appropriate discipline for the substitute teacher. The Board
  subsequently terminated his employment and placed a DNH designation in his
  personnel file.
          o Teacher Gave Money and Special Attention to Students (19-00086)
  A teacher at a high school communicated with students on social media and via text
  message about matters unrelated to school. He also gave certain students additional


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  attention and monetary gifts. The OIG did not find that these interactions with
  students were sexual. However, the OIG found that his conduct violated CPS policy
  and guidelines because he communicated with students over unauthorized channels
  and crossed professional boundaries with students by developing overly familiar
  relationships with them.
  The OIG recommended appropriate discipline for the teacher. The Board
  subsequently terminated his employment and placed a DNH designation in his
  personnel file.
          o Teacher’s Failure to Prevent Students’ Access to Sexual Material (19-00095)
  An investigation determined that when a high school teacher walked out of the
  classroom, one of her students accessed the teacher’s cell phone, viewed sexual
  content on the phone and showed that sexual content to other students in the class.
  The teacher had allowed students to use her phone, and she knew that the sexual
  material was on her phone, but she told the OIG she trusted that the students would
  not use her phone to access that material. Based on the evidence, the OIG concluded
  that the teacher did not intend to share the sexual material with the students and
  that, in fact, her students demonstrated a lack of respect for her privacy. However,
  the OIG found that the teacher, nevertheless, violated CPS’s guidelines on
  maintaining professional boundaries with students by failing to take adequate
  precautions to ensure that students did not access sexually explicit material.
  The OIG recommended appropriate discipline for the teacher. The Board
  subsequently placed the teacher on a Level Two Performance-Improvement Plan.
          o Interaction Between Student and Family-Friend SECA (19-00213)
  An investigation determined that a SECA had a close relationship with a special-
  needs senior and her family. The SECA did not engage in any sexual misconduct, but
  she did violate CPS policy and guidelines. The OIG found that, at times, the SECA and
  student had texted each other and had telephone conversations using their personal
  cell phones, which violated CPS policy governing the proper channels for
  communications between staff and students.
  Also, on one occasion when the student was walking to school in the cold and snow,
  her aunt asked the SECA if she could pick her up and drive her to school. The SECA
  drove the student to school that day with the aunt’s permission, as well as the
  permission of the student’s lead teacher, but she technically violated the CPS student
  travel policy because she failed to obtain the written consent from the student’s
  family or the principal.



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  The SECA also admitted that she occasionally hugs her students and blows kisses to
  them, which she said she did in an attempt to create a safe and family-like
  atmosphere in her class, which is comprised of special-needs students between 19
  and 22 years old. The OIG found that this conduct violated CPS’s guidelines on
  maintaining professional boundaries with students.
  The OIG recommended appropriate discipline for the SECA, and she was
  subsequently given school-based discipline.
          o Teacher’s Inappropriate Comment to Eighth Grader (19-00250)
  An elementary school teacher admitted that he told one of his eighth-grade students
  that she “should be kissing [his] ass.” The teacher acknowledged that the comment
  was inappropriate, but explained that he meant it as a joke. The student said the
  teacher was probably joking, but that the comment made her uncomfortable. The
  OIG found that the statement violated CPS’s guidelines on maintaining professional
  boundaries with students. However, the OIG did not find sufficient evidence to
  support a finding of sexual misconduct.
  The OIG recommended appropriate discipline for the teacher, and the Board is still
  considering what action to take in this matter.
          o Security Officer Encouraged Students to Date Each Other (19-00277)

  A security officer at a high school used a loudspeaker during a Valentine’s Day–
  themed fundraiser at the school to encourage specific students to purchase gifts for
  specific other students and also to encourage students who used to date each other
  to get back together. Although these comments by the security officer did not rise to
  the level of sexual misconduct, the OIG found that they were inappropriate and in
  violation of CPS’s guidelines on maintaining professional boundaries with students.

  The OIG recommended appropriate discipline for the security officer, and he was
  issued a written reprimand.
          o Substitute Teacher’s Comments About His Own Love Life (19-00282)
  A substitute teacher told a group of high school students during class that he needed
  to find a desperate woman for Valentine’s Day. He also made a gratuitous comment
  about a musician being a “sugar daddy.” Although these comments did not rise to the
  level of sexual misconduct, the OIG found that they violated CPS’s guidelines on
  maintaining professional boundaries with students.
  The OIG recommended appropriate discipline for the substitute teacher, and the
  Board advised that it is still considering what action to take in this matter.


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          o Security Officer Engaged in Sexual Banter with Students (19-00498)
  A security officer at a high school used explicit language while engaging in sexual
  banter with a group of male students. Although he discussed sexual subject matter,
  his comments did not rise to the level of sexual misconduct because, among other
  things, he did not make any sexual advances toward any student, and there was no
  evidence he engaged in any sexual conduct with a student. The OIG, however, found
  that his comments violated CPS’s guidelines on maintaining professional boundaries
  with students, which specifically prohibit the type of comments made by the
  security officer in this case.
  The OIG recommended appropriate discipline for him, and the Board subsequently
  terminated his employment and placed a DNH designation in his personnel file.


  S ECTION 9 — C ASES I NVOLVING A RRESTS OR C RIMINAL -B ACKGROUND I SSUES
  The OIG has the responsibility of monitoring the outcome of cases wherein Board
  employees or vendors were arrested and charged with criminal offenses. The OIG
  reports on these matters so that the Board can make a determination regarding
  administrative discipline or other action, based on the resolution of the criminal
  cases.
          o Teacher Convicted of Misdemeanor Battery for Striking her Son (14-01334)

  A teacher at an elementary school was arrested for striking her teenage son and for
  child endangerment with respect to her younger daughter, who was beaten by the
  teacher’s boyfriend. For striking her son, the teacher was charged in the Circuit
  Court of Cook County with two counts of aggravated domestic battery, a Class 2
  felony, 720 ILCS 5/12-3.3(a), and one count of aggravated battery with the use of a
  deadly weapon, a Class 3 felony, 720 ILCS 5/12-3.05(f)(1). The teacher was initially
  charged with child endangerment with respect to her daughter, but that charge was
  dropped.
  The case proceeded to trial on the three counts pertaining to the incident with her
  son. At trial, the court found her not guilty of aggravated battery with the use of a
  deadly weapon. With regard to the two aggravated domestic battery counts, the
  court found her guilty of two lesser-included offenses — two counts of
  misdemeanor battery. The court sentenced her to two years of probation and eight
  days of community service. She also paid $502 in court fines and fees.




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  In addition, DCFS conducted a concurrent investigation of this matter and made an
  indicated finding against the teacher for “substantial risk of physical
  injury/environment injurious to health and welfare by neglect.”
  The Board subsequently placed her on a Level Two Performance-Improvement Plan.
          o Vendor Pre-K Teacher Convicted of Criminal Sexual Assault (15-00099)
  A preschool teacher employed by a vendor was arrested and charged in the Circuit
  Court of Cook County in two separate cases for criminal sexual assault of three-year-
  old students. In one case he was charged with eight counts of predatory criminal
  sexual assault of a child under 13 years of age, a Class X felony, 720 ILCS 5/11-
  1.40(a)(1). He pleaded guilty to one of those counts, and the court sentenced him to
  serve 13 years in prison. He was also sentenced to three years of mandatory
  supervised release.

  In the other case he was charged with one count of the same crime — predatory
  criminal sexual assault of a child under 13 years of age. However, in that case he
  pleaded guilty to the lesser charge of aggravated criminal sexual abuse, a Class 2
  felony, 720 ILCS 5/11-1.60(c)(1). The court sentenced him to three years in prison
  and two years of mandatory supervised release.
  The OIG recommended that the Board personally debar him from ever doing
  business with CPS or otherwise working on CPS property. The Board subsequently
  permanently debarred him.
          o Substitute Teacher Convicted of Indecent Solicitation of a Child (15-00192)
  A substitute teacher at an elementary school was arrested and charged in the Circuit
  Court of Cook County with two counts of indecent solicitation of a child with the
  intent of committing criminal sexual assault, a Class 2 felony, 720 ILCS 5/11-6(a);
  one count of indecent solicitation of a child with the intent of committing aggravated
  sexual abuse, a Class 3 felony, 720 ILCS 5/11-6(a); one count of grooming (using an
  electronic device to solicit a child to commit a sex offense), a Class 4 felony, 720 ILCS
  5/11-25; and one count of solicitation to meet a child whom he believed was more
  than five years younger than him, a Class 4 felony, 720 ILCS 5/11-6.6.
  He was arrested after a teacher and administrator at the school reported to the
  police his improper actions toward an eighth-grade student. The Board terminated
  his employment and placed a Do Not Hire (DNH) designation in his personnel file.




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  He was later found guilty of all counts and was sentenced to serve four months in
  the Cook County Department of Corrections. He was also sentenced to 30 months of
  sex-offender probation.
          o Teacher Arrested for DUI (16-00667)
  A teacher was arrested for driving under the influence and was subsequently
  charged in the Circuit Court of Cook County with the Class A misdemeanor of DUI
  with a blood or breath alcohol content of 0.08 or greater, 625 ILCS 5/11-501(a)(1).
  The court fined him and gave him supervision, with community service.
  The OIG advised the Board of this matter, and the Board subsequently determined
  that no discipline was warranted in this case.
          o Hourly Employee Convicted of Unlawful Use of a Weapon (18-00108)
  An hourly employee at a high school was arrested and charged in the Circuit Court of
  Cook County with felony aggravated unlawful use of a weapon, 720 ILCS 5/24-
  1.6(a)(2), and criminal trespass to vehicles, 720 ILCS 5/21-2(a). He pleaded guilty to
  a lesser weapons charge — misdemeanor unlawful use of a weapon, 720 ILCS 5/24-
  1(a)(10) — and the trespass to vehicles charge was dropped. The court sentenced
  him to one year of conditional discharge, with 80 hours of community service. The
  court also ordered him to pay $314 in fines, costs and fees.

  The Board terminated his employment and placed a DNH designation in his
  personnel file.
          o Lunchroom Manager Pleaded Guilty to Simple Battery (18-00436)
  A lunchroom manager was arrested and charged in the Circuit Court of Cook County
  with one count of misdemeanor domestic battery, 720 ILCS 5/12-3.2(a)(1). He
  subsequently pleaded guilty to the lesser charge of simple misdemeanor battery. He
  was sentenced to 18 months of court supervision and fined $250.
  He subsequently resigned from CPS, and the Board placed a DNH designation in his
  personnel file.
          o Security Guard Convicted of Unlawful Use of a Weapon (18-01156)
  A high school security guard was arrested and charged in the Circuit Court of Cook
  County with felony aggravated unlawful use of a weapon, 720 ILCS 5/24-1.6(a)(1)
  and (2). He subsequently pleaded guilty to the lesser charge of unlawful use of a
  weapon/possession of a firearm, a Class A misdemeanor, 720 ILCS 5/24-1(a)(4). He
  was sentenced to community service and one year of supervision.



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  The Board subsequently terminated his employment and placed a DNH designation
  in his personnel file.
          o SECA Convicted of Theft (18-01202)
  A special-education classroom assistant was arrested for her involvement in a fraud
  scam in which she opened lines of credit under false pretenses, made fraudulent
  purchases and exchanged those items for cash. She was charged in the Superior
  Court of Lake County, in Indiana, with three Level 6 felonies — forgery, identity
  deception and theft. She subsequently pleaded guilty to the theft count. The court
  sentenced her to 18 months in jail, but suspended that sentence and placed her on
  probation for 18 months, with the condition that she perform 100 hours of
  community service.
  The Board subsequently terminated her employment and placed a DNH designation
  in her personnel file.
          o Teacher Convicted of Violating Order of Protection (18-01473)
  A teacher was arrested after placing a tracking device on the car of his ex-girlfriend,
  a fellow CPS teacher, and violating an order of protection that she had against him.
  He was charged in the Circuit Court of Cook County with two counts of violating an
  order of protection, a Class A misdemeanor, 720 ILCS 5.0/12-3.4(a)(1), and one
  count of unlawful use of an electronic tracking device, also a Class A misdemeanor,
  720 ILCS 5.0/21-2.5(b). He pleaded guilty to both counts of violating an order of
  protection and was sentenced to two years of supervision, including community
  service and electronic monitoring. The court also fined him $250 and ordered him to
  take a mental health examination.
  The OIG advised the Board of this matter, and the Board subsequently initiated
  dismissal proceedings against him, which are still pending.
          o Porter Convicted for Possession of Heroin (18-01691)
  A porter at an elementary school was arrested and charged in the Circuit Court of
  Cook County with one count of possession of a controlled substance (an amount less
  than 15 grams of heroin), a Class 4 felony, 720 ILCS 570/402(c). He pleaded guilty to
  that count and was sentenced to two years of probation. He was also ordered to pay
  $1,229 in fines and fees.
  After the OIG advised the Board of this matter, the porter resigned from CPS. The
  Board subsequently placed a DNH designation in his personnel file.




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  S ECTION 10 — U PDATES TO C ASES R EPORTED IN P REVIOUS A NNUAL R EPORTS
            C ONVICTIONS   AND    S ENTENCING   IN   M A JOR T HEFT S CAM
  In its 2014 Annual Report, the OIG reported its findings in four investigations that
  concerned major purchasing and reimbursement schemes that a school operations
  employee (Employee A) coordinated across two high schools. The schemes included
  CPS employees and vendors and resulted in the theft of nearly $900,000.

  The OIG referred this matter to the Cook County State’s Attorney’s Office, which
  brought criminal charges against a number of individuals involved in the schemes.
  Specifically, the May 2015 Grand Jury of the Circuit Court of Cook County returned a
  35-count indictment against five individuals involved in the schemes. Subsequent
  charges against two additional individuals brought the total number of criminal
  defendants to seven. All of those defendants have now reached plea agreements and
  have been sentenced by the court. The table below shows the crimes they pleaded
  guilty to, as well as their sentences.8

      Subject                   Guilty Plea and Sentence

      Employee A          o     Pleaded guilty in 2019 to organizing a financial criminal enterprise, a
      OIG Cases                 Class X felony.
      13-01153            o     Sentenced to six years in prison.
      14-00525
      14-00595            o     Court entered a $750,000 judgment against him for money stolen
      14-00596                  from CPS as part of the criminal enterprise he organized.

      Employee C          o     Pleaded guilty in 2015 to one Class A misdemeanor count of theft.
      OIG Case            o     Sentenced to conditional discharge, fined court costs and ordered to
      14-00595                  pay $10,000 in restitution.

      Employee D          o     Pleaded guilty in 2019 to a lesser charge of misdemeanor theft.
      OIG Case            o     Sentenced to probation for two years, with the condition of paying
      14-00525                  CPS $3,500 in restitution and completing 240 hours of community
                                service. He was also ordered to pay $444 in court fines, fees and
                                costs.
                          o     To date, he has paid CPS $1,140 of the restitution owed.



  8 The names for the individuals given in the table, such as “Employee A,” reflect the designations
  they were given in the OIG’s 2014 Annual Report, where their conduct is discussed in more
  detail along with the conduct of other parties involved. This table only provides the information
  for the parties who were criminally charged, which is why individuals like “Employee B” are
  omitted.


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   Subject                      Guilty Plea and Sentence

   Employee E             o     Pleaded guilty in 2015 to one Class A misdemeanor count of theft.
   OIG Case               o     Sentenced to conditional discharge, fined court costs and ordered to
   14-00596                     pay $5,000 in restitution.
                          o     He has already paid CPS the full $5,000 in restitution.

   Business Owner 2       o     Pleaded guilty in 2019 to conspiracy to commit a financial crime, a
   OIG Case                     Class 1 felony.
   13-01153               o     Sentenced to probation for three years, with the condition of paying
                                CPS $100,000 in restitution and serving 400 hours in the Sheriff’s
                                Work Alternative Program. He was also ordered to pay $864 in court
                                fines, costs and fees.
                          o     To date, he has paid CPS $15,000 of the restitution owed.

   Business Owner 3       o     Pleaded guilty in 2019 to conspiracy to commit a financial crime, a
   OIG Case                     Class 1 felony.
   13-00153               o     Sentenced to three years of probation, with the condition of paying
                                CPS $75,000 in restitution and serving one year of home
                                confinement with electronic monitoring. He was also ordered to pay
                                $619 in court fines, costs and fees.
                          o     To date, he has paid CPS $15,000 of the restitution owed.

   Business Owner 4       o     Pleaded guilty in 2018 to Class 1 felony theft.
   OIG Case               o     Sentenced to two years of second-chance probation — which
   13-00153                     includes community service — with the condition of paying CPS
                                $20,000 in restitution. He was also ordered to pay $624 in court
                                fines, costs and fees.


          G UILTY P LEAS   AND    S ENTENCING    IN   D ISABILITY B ENEFITS F RAUD C ASE
  In its Annual Report for the 2017 Fiscal Year, the OIG reported that the owner of a
  vendor company that regularly sold the district gift cards was responsible for false
  pricing and invoicing, as well as deficient inventory controls and records (15-
  01115). The OIG also found that an employee of the vendor used the vendor’s
  relationship with CPS to steal gift cards, which she and her husband used to make
  $4,043.62 worth of personal purchases.
  In the 2018 Annual Report, the OIG reported that the U.S. Attorney’s Office for the
  Northern District of Illinois indicted the employee and her husband on multiple
  counts of defrauding the Social Security Administration. In addition, the employee
  and her husband were each charged with lying to the SSA, and the vendor’s owner
  and the employee’s husband were each charged with falsifying documents to


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  obstruct the government’s investigation of this matter. All three were charged with
  conspiracy to falsify documents with the intent to obstruct the government’s
  investigation.
  The OIG assisted the U.S. Attorney’s Office and the Office of Inspector General for the
  Social Security Administration with their investigation of this matter.
  According to the allegations in the indictment, the employee and her husband
  fraudulently concealed the fact that she was working for the vendor in order to
  obtain more than $110,000 in Social Security Disability Insurance benefits, which
  she was not entitled to receive, given her employment. The employee and her
  husband included the vendor’s owner in the scheme. Among other things, they
  arranged for the vendor’s owner to falsely issue the employee’s paychecks in the
  name of the employee’s husband in an effort to represent that the husband, and not
  the wife, was working for the vendor.
  In 2019, all three entered guilty pleas and were sentenced by the U.S. District Court.
  The employee and her husband each pleaded guilty to one count of wire fraud, in
  violation of 18 U.S.C. § 1343, and one count of conspiracy to obstruct justice, in
  violation of 18 U.S.C. § 371. The owner of the company pleaded guilty to obstruction
  of justice, in violation of 18 U.S.C. § 1519.

  The employee was sentenced to 10 months in prison, followed by two years of
  supervised release. Her husband was sentenced to nine months in prison, followed
  by two years of supervised release. The two of them were ordered to pay restitution
  to the Social Security Administration in the amount of $111,763 and each ordered to
  pay a $200 special assessment to the court.
  The owner was sentenced to two years of supervised release, with the first three
  months in home confinement. She also was ordered to pay a $5,000 fine and a $100
  special assessment to the court.
          C HANGES    TO   P RE -K P ROGRAM   AT   O SCAR M AYER M AGNET
  In a May 23, 2018, Significant Activity Report the OIG detailed a pre-K admissions
  process at Oscar Mayer Magnet that, for 10 years, gave parents living in Mayer’s
  Lincoln Park attendance area the inside track to the school’s free two-year
  Montessori pre-K magnet program (17-00326).
  This attendance area preference was due to Mayer’s designation, via a 2008 Board
  Report, as a magnet school with an attendance boundary. According to that Board
  Report, CPS was supposed to provide the Board with an annual Mayer demographic
  analysis to monitor whether Mayer should “maintain its designation as a magnet


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  school with attendance boundaries or will be categorized as a magnet school with
  no attendance boundaries.” At the time of the OIG’s report, no such demographic
  analysis had been done in 10 years. During that time period, Mayer became
  increasingly less diverse, both racially and socioeconomically. The school shifted
  from 49 percent African American in 2007 to 73.2 percent white in 2019. Its
  attendance area is currently the most affluent in all of CPS and is composed solely of
  the most affluent of four CPS socioeconomic tiers. Despite a huge demand for
  Mayer’s free pre-K, in recent years the school rarely has had room for applicants
  from outside the neighborhood.
  The OIG found it unjustifiable that residents of CPS’s wealthiest attendance area
  should receive priority access to two years of free Montessori pre-K worth
  approximately $30,000 in the private market and recommended that such special
  access be halted.
  Following the OIG’s report, CPS held a series of community meetings about the
  future of Mayer’s pre-K program. The community and CPS decided that it would
  become a tuition-based pre-K Montessori program at the reduced tuition rate of
  $10,232, as it offered fewer than the 10 hours per day of classes provided at CPS’s
  other tuition-based pre-K programs. Existing Mayer three-year-olds would be
  allowed to continue for free as four-year-olds, but new three-year-olds were
  supposed to be charged tuition. As of December 2019, CPS listed 40 students in
  Mayer’s tuition-based pre-K program: six four-year-olds and 34 three-year-olds.
  Mayer is expected to offer tuition-based pre-K again in the 2020–21 school year,
  although the age groups and application deadline have yet to be determined,
  according to CPS.

  The switch to a tuition-based pre-K program meant that, for the first time,
  kindergarten was Mayer’s entry-level magnet grade in the fall of 2019. However, the
  Office of Access and Enrollment advised that, because the Board did not approve the
  pre-K decision until May of 2019, OAE was unable to run traditional lotteries with
  economic tiers for fall 2019 admission to Mayer’s kindergarten. Across all grades,
  ultimately Mayer received 1,357 out-of-boundary magnet applications for what
  turned out to be only 11 K–8 openings, CPS data indicated. With 22 of a total 23
  offers for 11 seats occurring two weeks after school started, only one student
  accepted. OAE advised that Mayer is expected to run a kindergarten lottery with
  economic tiers for fall 2020 admission.
  The OIG had also recommended that CPS and the Board develop a tracking system
  so that information requested by the Board, such as the Mayer demographic
  analyses, would not continue to fall through the cracks. Since the OIG issued its


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  report on this matter, the Board has advised that it has implemented a “new and
  more robust project management system” to track information required to be sent
  to the Board. A Mayer demographic report was filed in 2019 showing that Mayer’s
  white population had increased for the 12th consecutive year and comprised 564
  students out of a total enrollment of 770.
  Mayer currently receives magnet funding despite its decreasing racial and
  socioeconomic diversity. Pursuant to Board Policy, magnet schools are supposed to
  try to maintain racial diversity as well as promote socioeconomic diversity. Mayer’s
  diversity received little help in the 2019–20 school year, when CPS data indicated
  that only one student from outside the attendance boundary was accepted via the
  magnet lottery. As the OIG recommended, CPS should hold community meetings to
  decide whether Mayer should remain a magnet school with a boundary, or be
  converted to a traditional neighborhood school, a traditional magnet school with
  citywide admissions or a neighborhood school with a magnet cluster program.




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                                APPENDIX
                    March 13, 2019, Significant Activity Report:
                Performance Review of Pre-K Billing and Collections
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                                                                                         Appendix
     Office of
     Inspector General
     Chicago Board of Education
     Nicholas Schuler, Inspector General




                             SIGNIFICANT ACTIVITY REPORT



   OIG 18-00133                                       W E D N E S DAY , M A R C H 1 3 , 2 0 1 9


                    PERFORMANCE REVIEW : PRE - K BILLING AND COLLECTIONS


  KEY FINDINGS
  CPS left as much as $2 million in parent payments involving two pre-K programs on
  the table over the last four school years, including money it was shorted by nearly
  140 of its own employees, a performance review by the Office of Inspector General
  for the Chicago Board of Education has found.
  The programs at issue are CPS’s tuition-based pre-K, which this school year cost
  parents nearly $14,000 per full-day seat, and the less expensive sliding-scale pre-K
  program, which has charged parents copayments ranging from $260 a year to just
  over $4,400 a year for half-day seats, depending on family size and income.
  Over the last four school years and across these two pre-K programs, CPS could have
  collected an additional nearly $1.6 million to $2 million but failed to do so due to
  pre-K application fraud by its own employees, lax debt collection, mismanagement,
  poor oversight of its tuition-collection arrangement with a for-profit company, and
  human or data errors, according to an OIG performance review of CPS pre-K billing
  and collections.
  The OIG identified six ways in which CPS failed to collect all the money it was owed
  from the two programs in question — including from its own employees.
  Overall, 138 CPS employees shorted CPS nearly $215,000 by either ignoring their
  tuition-based or sliding-scale pre-K bills or understating their incomes on
  applications for sliding-scale seats, an analysis of data provided by the CPS Office of
  Early Childhood Education, the for-profit tuition-collection vendor and other
  sources showed.




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  misrepresentation on a CPS pre-K application could amount to a criminal violation
  of the Illinois public benefits fraud law (See 720 ILCS 5/17-6(a)). The OIG
  recommended including a warning about this law on all pre-K applications.
  In a February 22 response, CPS officials said they are planning improvements to the
  application form as well as to CPS’s debt policy. In addition, they will seek recovery of
  pre-K debts from CPS employees, as well as possible discipline. Collection actions will
  be sought against non-employee debtors, according to a CPS Corrective Action Plan.


  A MISMANAGED CONTRACT
  Since 2001, CPS has provided a limited amount of full-day, tuition-based preschool
  for the city’s 3- and 4-year-olds. The program represents an option for those parents
  whose children do not qualify for free pre-K based on low income or special need.
  This school year, tuition is $13,974 per child for 10 months of 10-hour classes.
  Initially, schools collected this tuition, but one former official from the CPS Office of
  Early Childhood Education indicated schools were poor bill collectors. In one school,
  OECE could not even find the tuition checks, this former official said. So OECE looked
  for vendors to take over this task and settled on one particular for-profit vendor
  because it was the only one of four finalists to propose not charging CPS directly for
  its services, according to the former OECE official. Instead, the for-profit vendor
  planned to make money by withholding a portion of tuition payments as “processing
  fees” before tendering tuition to CPS and by charging parents late-payment fees.

  In SY 2007–08, the vendor began collecting tuition-based payments from CPS
  parents. Apparently because CPS was not paying the vendor directly, the
  Procurement Department was not involved. No Board report was issued about the
  deal. CPS was given access to the vendor’s online billing and collection interface,
  allowing it to monitor the process and make adjustments as needed.
  However, evidence indicated that for eight years, there was no written agreement
  between CPS and the tuition-collection vendor outlining how the vendor would
  collect and remit what would turn out to be millions of dollars in tuition annually on
  CPS’s behalf. The vendor at some point required parents to sign an enrollment form
  listing a tuition amount, a late fee and a processing fee, but neither the vendor nor
  CPS could produce any evidence the parties had any written agreement for the first
  eight years of their relationship.

  The OIG views this as a dangerous business practice, as it left CPS with tenuous
  recourse should it discover any vendor errors or have any disputes with the tuition-
  collection vendor.




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  By SY 2013–14, CPS decided to expand its pre-K offerings by launching a “sliding-
  scale” pre-K program that offered parents a half-day of pre-K for a fee — but for less
  than the tuition required in the district’s full-day tuition-based program.
  Copays were tied to family size and overall income as listed on pre-K applications.
  Copays kicked in for families making more than 200 percent of the federal poverty
  level. For example, last school year a family of four making less than $49,200 would
  qualify for free seats. Families of four making more than that amount (or more than
  200 percent of the FPL for that family size) would pay anywhere from $270 a year to
  as much as $4,410 a year. The top copay of $4,410 kicked in for families of four
  making more than $100,873 — all the way through the millionaire level.

  Once again, the same for-profit vendor was recruited to bill and collect payments
  from sliding-scale parents without going through a formal procurement process.
  Finally, under different Early Childhood leadership, another OECE official realized
  CPS had no contract with the for-profit vendor. A services agreement was executed,
  starting on July 1, 2015, covering both the tuition-based and sliding-scale programs.
  However, from the first year of the 2015 agreement, the vendor charged higher fees
  than those in the contract. It did so without the written approval of CPS, as required
  by the contract. CPS parents picked up the extra tab, which went to the vendor.
  At the end of June 2016, the contract expired. CPS then let the tuition-collection
  vendor operate on an expired contract — an unsound business practice in the OIG’s
  view. Meanwhile, the vendor continued to raise fees without written approval from
  CPS. Again, parents shouldered the increases; the vendor reaped the benefit.
  Plus, for years, parents at different tuition-based schools have been paying different
  fee amounts, ranging last school year from $46 to $50 for processing fees and from
  $20 to $90 per late payment. Most of these fees were above the contracted amounts.
  Several top current and former OECE officials were unaware of this practice and said
  the fee should have been the same across schools. Concerning late payments, one
  representative of the tuition-collection vendor speculated that tuition-based schools
  must have requested different late-payment amounts.
  In the last four years alone, the vendor collected nearly $20 million from CPS
  parents and withheld more than $240,000 of that amount in processing fees as well
  as another $148,000 in late fees, an analysis of the vendor’s records indicated.
  Despite the millions the vendor collected annually on CPS’s behalf, the OIG could
  find no evidence that CPS had ever audited the tuition-collection vendor over the
  last four school years. It may well have never done so.




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  As of this writing, the vendor continues to collect tuition-based payments from CPS
  parents on CPS’s behalf.


  OTHER CONCERNS
  In addition to OECE mismanagement of the tuition-collection contract, the OIG made
  several other findings concerning CPS pre-K billing and collection practices.
  The OIG found that OECE employees in the best position to be riding herd over the
  tuition-collection vendor did not know key specifics of the contract, such as the
  contracted amount of the vendor’s processing and late fees or when the contract
  expired. Thus, they were unable to detect when fees were above the contracted
  amount or to recommend exercising an option to renew the contract.

  Current OECE officials could not remember any sliding-scale debtor ever being
  removed from the program for lack of payment, including those who listed six-figure
  incomes on their applications. OECE never referred pre-K debtors to a bill collector
  during the four years examined, even though a bill collector was under contract with
  CPS for part of this time period.
  In recent years, CPS never systematically checked whether any debtors were CPS
  employees, although one key OECE official noted that he did not have the ability to
  do so.
  One CPS employee who dealt with the tuition-collection vendor has been working
  alone in a 3,200-square-foot office space, located in a shopping mall, this school year
  as well as last school year. Such a large space for one person is “a waste of money,’’ a
  former OECE official told the OIG. This year’s rent is costing CPS more than $70,000.

  At least two CPS departments that work with or monitor the vendor’s billing and
  collection functions displayed poor recording-keeping in that they were missing
  vital records in their official files or kept incomplete or unauditable records.
  At the time of the OIG’s performance review, CPS employees were sharing
  passwords and user names to vendor billing accounts that had been used by
  employees who had left CPS years ago. This theoretically gave ex-CPS employees
  who remembered their old user names and passwords the ability to alter tuition or
  billing information and to see personal information about students and parents. It
  also left behind inaccurate audit trails.
  In recent years, on-site supervision of one CPS employee with the power to waive
  fees or tuition was non-existent.
  CPS used three different databases to collect pre-K application information for its
  sliding-scale program over the four years surveyed. This created the opportunity for



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      a pattern exhibited in the cases of 63 sliding-scale students: their parents owed
      money at the end of their first year of pre-K, but the children were allowed to
      return for a second year, when their parents rang up even more debt, on
      average, than the first year.
   2. Tuition-Based Debtors: Nearly $60,000 in tuition was never collected from the
      parents of 28 students in the tuition-based pre-K program. Of that amount,
      $10,400 in debt was racked up by three CPS teachers. The biggest CPS-
      employed tuition-based debtor was a teacher who failed to pay more than
      $5,200 for her child’s tuition-based pre-K in the school where she worked.
   3. Tuition-Based Mystery Kids: CPS could not produce any proof that nearly
      $37,000 in tuition was ever paid on behalf of four students who were not billed
      by the tuition-collection vendor, meaning those students may well have slipped
      into tuition-based seats without ever paying CPS. The OIG recommended a way
      of catching such non-billed students in the future.
   4. CPS Employees with Understated Incomes: More than $114,000 in additional
      sliding-scale copays should have been collected from 78 CPS employees who
      understated their incomes on applications for sliding-scale seats, resulting in
      shortages to CPS. The bulk of these employees — 51 of 78 — obtained free pre-
      K seats for their children under this scheme, some for two consecutive years.
   5. Billable Incomes Not Billed: Nearly $757,000 in sliding-scale copays was never
      collected from the parents of 379 students who were listed in data provided by
      OECE with family sizes and incomes that normally should have triggered
      sliding-scale copays — yet, inexplicably, they were never billed. This tally
      includes 242 students from one anomalous year, SY 2015–16, who were listed
      as “copay exempt” in CPS records without any supporting information to
      indicate why they should be exempt from paying what should have been more
      than $462,000 in copays. Key CPS officials could not adequately explain the
      basis of these waivers. Some of these families had six-figure incomes and
      possibly were granted copay exemptions based on standards that were not
      applied in the three other years examined by the OIG. If the $462,000 in
      questionable copay exemptions from 2015-16 is presumed to be accurate, CPS
      would have left nearly $1.6 million on the table across all six schemes identified
      by the OIG. But if the OIG applies the same copay exemption standards to SY
      2015–16 as CPS allowed in other years, CPS would have left just over $2 million
      on the table from all six schemes over the four years analyzed.
   6. Three-Month Billing Error: Nearly $324,000 in sliding-scale copays was never
      collected in SY 2017–18 due to a billing error involving 690 students whose
      parents mistakenly were not billed for the first three months of the program.
      CPS Early Childhood officials waived these three months of copays after finding


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      CPS erred in not initially notifying or billing these parents. Early Childhood
      officials did not try to determine why the error occurred.


  TOP RECOMMENDATIONS AND CPS RESPONSES
  As a result of its performance review, the OIG’s Performance Analysis Unit referred
  some cases to other OIG investigative units. The OIG also issued 21
  recommendations to the Board on December 14, 2018, concerning pre-K billing and
  collection procedures. The first 10 recommendations were considered time-
  sensitive, so the OIG asked CPS for a corrective action plan addressing them within
  two months. A CPS corrective action plan was provided on February 22. The OIG
  expects responses to the 11 remaining recommendations by mid-June.
  The IG’s 10 time-sensitive recommendations, and CPS’s responses, are as follows:
   1. Consider an RFP. CPS should consider an RFP for SY 2019–2020 tuition-based
      collections because the tuition-collection vendor has not abided by its contract
      and handles millions of dollars in CPS tuition annually. If CPS decides to
      continue to use the same vendor, it should renegotiate its now-expired contract
      and monitor it carefully.

      CPS Response: CPS will be working on a new contract with the same vendor,
      targeted to start April 30, 2019.
   2. Standardize fees. Any new contract should establish and enforce consistent late
      fees, which last school year ranged from $20 to $90 across all tuition-based
      schools, as well as consistent processing fees, which last school year ranged from
      $46 to $50 per tuition-based student, depending on the school. References to
      these fees in vendor or CPS material should use consistent and correct figures.
      (Note that the sliding-scale program was halted this school year so its fees are
      moot.)
      CPS Response: The new contract with the same vendor will have the same
      processing fee and late fee across all tuition-based schools. These rates will be
      used consistently across all communications with parents and in the contract.

   3. Demand payment. CPS should demand payment, preferably with interest, from
      CPS employees with tuition-based or sliding-scale debt and carefully weigh all
      options against non-employee debtors with pre-K debt, particularly those with
      tuition-based debt or large debt amounts. In addition, CPS should send up-to-
      date bills to parents of the four tuition-based mystery kids.
      CPS Response: The Law Department will be contacting high-level employees, and
      then rank-and-file employees, to seek repayment and/or possible disciplinary



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      action. The Law Department also will seek collection actions against debtors who
      are not employed by the Board.
   4. Update indebtedness policies and rules. The current Board Policy on
      Indebtedness requires CPS job applicants to pay outstanding parking tickets as
      a condition of employment. In addition, under Board Rules, existing CPS
      employees can be disciplined or dismissed for any City of Chicago debt. Board
      Rules and Policies should be amended to address CPS pre-K debt by CPS
      employees and job applicants.
      CPS Response: The Law Department will be updating Board Rule 4-4(g) to expand
      its coverage to all public debt above and beyond just debt to the City of Chicago.
      The proposed changes may require negotiations with labor organizations.
   5. Check annually for CPS debtors. CPS should conduct an annual check for
      employees with pre-K tuition debt. Action should then be pursued against CPS-
      employed pre-K debtors under the updated Board Rules and Policies
      recommended above.
      CPS Response: The Office of Early Childhood will provide the appropriate CPS
      departments with a report on CPS employees who owe pre-K tuition debt.
   6. Add attestation box and warning. Current applications for free pre-K should
      contain an attestation-of-truthfulness box and require a clear indication of who
      filled out the form so CPS employees, in particular, can be held accountable if
      they provide false information. To discourage application fraud, such forms
      should include a warning that providing false or misleading information could
      result in criminal penalties under the Illinois public benefits fraud law, 720 ILCS
      5/17-6(a).
      CPS Response: The Office of Early Childhood will ask the City Department of
      Family Support Services to work with its software vendor to add the attestation
      box and warning. This attestation box and warning will apply to all public entities,
      not limited to CPS and the City of Chicago.

   7. Employment disclosure needed. The OIG recommends that CPS’s free pre-K
      application require disclosure of whether any parent or guardian of a child
      applicant works for CPS — and possibly for the City of Chicago or its sister
      agencies. This will provide valuable information in the event CPS wants to seek
      back-tuition from its employees or sister-agency employees, all of whom should
      be held to the highest standards when debts to public agencies are involved.

      CPS Response: The Office of Early Childhood will request that the DFSS work with
      their software vendor to add a section requiring that any guardian of a child



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      applicant disclose his or her current employment status with CPS, the City of
      Chicago or any other public entity.
   8. Audit trail and audits needed. CPS needs to establish an auditable way of
      maintaining tuition-based application and payment information. The audit trail
      on data in the current electronic application database is not readily available to
      CPS officials. Audits of the billing and collection vendor should be conducted on
      a regular basis to ensure the vendor is withholding the correct amount of fees
      and tendering the correct tuition.
      CPS Response: The tuition-collection vendor will be asked to provide a monthly
      report on all students’ tuition payments and fees, which CPS will monitor for
      delinquencies and discrepancies in payments made.
   9. End the lease. When CPS’s lease on the 3,200-square-foot office space now being
      used by only one CPS employee — a person who monitors tuition billing —
      expires on June 30, 2019, CPS should consider ending the more than $70,000-a-
      year lease.
      CPS Response: This lease will not be renewed and the employee will be housed at
      Central Office.
   10. Update usernames and passwords. During the time period examined, CPS
       employees used the usernames and passwords of former CPS employees to
       access the vendor’s database of CPS tuition-based and sliding-scale accounts.
       This prevented accurate audit trails and theoretically allowed ex-employees to
       tamper with tuition bills and access student information. In the future, all
       vendor database usernames and passwords should be used in a way that is
       consistent with CPS password guidelines.
      CPS Response: CPS says it has corrected this issue.




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